MGMCSTMTN 200801 -18827-0001

Case:20-01947-jwb Doc #:327-1 Filed: 09/23/2020 Page 1 of 66

5610 Byron Centar Avo. Si
Wyoming, Mi 4519

 

Return Service Requested Page: 1 of 11
, AP ax Statement Date: 07/31/2020
Mercantile : Sie 07001 Primary Account: XXXXXX4777

Documents: 0
Period: 06/30/20 to 07/31/20
E

BARFLY VENTURES, LLC . <T> 30-0

35 OAKES ST SW STE 400 0

GRAND RAPIDS, MI 49503 0

COMMERCIAL ANALYSIS CHECKING ACCO Account: XXXXXX4777

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132,437.64 1,724,707.64 (304) | 1,710,699.21 (307)

 

   
  
  
 
 
 
 
  
     
    

  
     
       
 
 
  
 
 
 
  
 
  
 

Date Description Amount
07/01 Transfer From Coml Analysis Ck Account 333.23
07/01 Transfer From Coml Analysis Ck Account 9227 447.89
07/01 Transfer From Coml Analysis Ck Account 1069 : 1,389.00
07/01 Transfer From Coml Analysis Ck Account 0451 3,121.61
07/01 Transfer From Com! Analysis Ck Account 3859 3,138.67
07/01 Transfer From Coml Analysis Ck Account 0830 3,242.99
07/01 Transfer From Coml Analysis Ck Account 3840 3,296.51
07/01 Transfer From Coml Analysis Ck Account 3877 3,397.22
07/01 Transfer From Coml Analysis Ck Account 4115 3,622.83
07/01 Transfer From Coml Analysis Ck Account 8171 3,829.90
07/01 Transfer From Coml Analysis Ck Account 4123 4,675.60
07/02 American Express Settlement XXXXXX5238 9.57
07/02 Transfer From Coml Analysis Ck Account J 0830 115.97
07/02 Comb. Dep. Worldpay Worldpay Comb. Dep. Term iy 245.00
07/02 Transfer From Com! Analysis Ck Account 9227 596.85
07/02 Payments Bhn Ft Sre 10013180000000001 For 2020-07-02 AIC Mercanti - 1,105.00
07/02 Transfer From Comi Analysis Ck Account 1069 | 1,611.80
07/02 Transfer From Coml Analysis Ck Account 4115 2,235.46
07/02 Transfer From Com! Analysis Ck Account 0451 , 2,436.58
07/02 Transfer From Coml Analysis Ck Account 8171 3,400.48
07/02 Transfer From Coml Analysis Ck Account 4123 / 3,874.31
07/02 Transfer From Com! Analysis Ck Account 3840 4,235.87
07/02 Transfer From Coml Analysis Ck Account 3859 4,561.10
07/02 Transfer From Coml Analysis Ck Account 3877 4,585.19
07/03 American Express Settlement XXXXXX5238 ‘ 0.03
07/03 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 145.00
07/03 Transfer From Coml Analysis Ck Account 9227 205.73
07/03 Transfer From Coml Analysis Ck Account 0488 325.13
07/03 Transfer From Coml Analysis Ck Account 1069 2,073.64
07/03 Transfer From Coml Analysis Ck Account 0830 3,068.59
07/03 Transfer From Coml Analysis Ck Account 0451 3,171.09
07/03 Transfer From Coml Analysis Ck Account 3840 3,385.76

07/03 Transfer From Coml Analysis Ck Account 3877 . 3,717.72
MGMCSTMTN 200801-1 8827-0002

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BARFLY VENTURES, LLC Page: 2 of 11
GRAND RAP Ow uae Statement Date: 07/31/2020

Primary Account: XXXXXX4777

 

      
  
 
 
 
  
 
  
  
 
 
  
 
 
 
 
 
 
  
 
 
  
 
 
  
  
  
 
 
 
  
 
 
  
   
 

ate Description Amount
07/03 Transfer From Coml Analysis Ck Account 3,728.50
07/03 Transfer From Coml Analysis Ck Account . 3,881.77
07/03 Transfer From Coml Analysis Ck Account 4123 5,622.28
07/03 Transfer From Comi Analysis Ck Account 4115 6,175.46
07/03 Transfer Barfly Ventures Payroll 225,000.00
07/06 Transfer From Coml Analysis Ck Account 9044 . 2.00
07/06 Transfer From Coml Analysis Ck Account 8664 2.00
07/06 Transfer From Coml Analysis Ck Account 12.00
07/06 Transfer From Coml Analysis Ck Account 466.82
07/06 Transfer From Comi Analysis Ck Account 4,651.52
07/06 Transfer From Com Analysis Ck Account 6,209.62
07/06 Transfer From Com Analysis Ck Account 7,660.75
07/06 Transfer From Coml Analysis Ck Account 7,887.37
07/06 Transfer From Coml Analysis Ck Account 8,343.59
07/06 Transfer From Com Analysis Ck Account 9,190.68
07/06 Transfer From Coml Analysis Ck Account 9,698.78
07/06 Transfer From Comi Analysis Ck Account 13,509.74
07/06 Transfer From Coml Analysis Ck Account 14,055.40
07/07 Transfer From Coml Analysis Ck Account 1,428.28
07/07 Transfer From Com! Analysis Ck Account 1,916.68
07/07 Transfer From Coml Analysis Ck Account 2,075.18
07/07 Transfer From Coml Analysis Ck Account 2,893.94
07/07 Transfer From Coml Analysis Ck Account 3,079.54
07/07 Transfer From Coml Analysis Ck Account 3,379.21
07/07 Transfer From Coml Analysis Ck Account 3,529.21
07/07 Transfer From Comi Analysis Ck Account 4,652.49
07/07 Transfer From Coml Analysis Ck Account 5,459.83
07/07 Transfer From Coml Analysis Ck Account 6,190.15
07/07 Transfer From Comli Analysis Ck Account 10,848.39
07/08 Transfer From Coml Analysis Ck Account 17.50

07/08 Transfer From Coml Analysis Ck Account 9062 17.50

 
     
   
  
  
   
  

07/08 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 40.00 .
07/08 Transfer From Com! Analysis Ck Account 357.84
07/08 Transfer From Coml Analysis Ck Account 1,279.15
07/08 Transfer From Com Analysis Ck Account 1,639.25
07/08 Transfer From Com! Analysis Ck Account 1,731.97
07/08 Transfer From Comi Analysis Ck Account 1,841.97
07/08 Transfer From Coml Analysis Ck Account 2,241.90
07/08 Transfer From Com! Analysis Ck Account 2,579.04
07/08 Transfer From Coml Analysis Ck Account 2,617.73
07/08 Transfer From Coml Analysis Ck Account 2,975.54
07/08 Transfer From Coml Analysis Ck Account 4115 3,336.39
07/08 Comb. Dep. Worldpay Worldpay Comb. Dep. lerm ay 50.00
07/09 Transfer From Comi Analysis Ck Account i 1069 1,277.61
07/09 Infinisource0706 Pc Jun20 665778 1,492.36
07/09 Transfer From Coml Analysis Ck Account 4123 1,591.83
07/09 Payments Bhn Ft Sre 10013190000000001 For 2020-07-09 A/C Mercanti 1,721.25
07/09 Transfer From Coml Analysis Ck Account 3840 * 2,228.71
07/09 Transfer From Coml Analysis Ck Account 8171 2,258.37
07/09 Transfer From Com! Analysis Ck Account 4115 2,273.31
07/09 Transfer From Coml Analysis Ck Account 0451 2,594.43
07/09 Transfer From Coml Analysis Ck Account 9227 2,777.89
07/09 Transfer From Com! Analysis Ck Account 3877 3,622.95
07/09 Transfer From Comi Analysis Ck Account 0488 5,016.82
07/09 Transfer From Coml Analysis Ck Account 3859 5,061.11
07/10 Gordon Food Serv Ar Payment 0001-100119375 16.84

07/10 Transfer From Comi Analysis Ck Account
07/10 Transfer From Coml Analysis Ck Account
07/10 Transfer From Comi Analysis Ck Account

   

1069 . 1,923.77
0830 2,039.03
4123 2,127.93

 
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GRAND RAP DS, MI 49503 Statement Date:
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Description

Transfer From Corl Analysis Ck Account 4915
Transfer From Comi Analysis Ck Account 3840
Transfer From Com! Analysis Ck Account 74
Transfer From Cori Analysis Ck Account 3877
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Comb. Dep. Worldpay Worldpay Comb. Dep. =
Transfer From Coml Analysis Ck Account 3
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Transfer From Coml Analysis Ck Account 0830
Transfer From Com Analysis Ck Account 3859
Transfer From Comi Analysis Ck Account 04388
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Transfer From Coml Analysis Ck Account 3877
Transfer From Coml Analysis Ck Account 9227
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Transfer From Com! Analysis Ck Account 41415
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Transfer From Com Analysis Ck Account 3877
Transfer From Coml Analysis Ck Account 9227
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Transfer From Com Analysis Ck Account 1069
Transfer From Comi Analysis Ck Account 3877
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Transfer From Com Analysis Ck Account 9227
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Transfer From Com! Analysis Ck Account 0488
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Payments Bhn Ft Sre 10013190000000007 For 2020-07-16 A/C Mercant!

 
   
 
 
 
  
  
 
 
  
   
 
 
 
  
 

3 of 14
07/34/2020

Primary Account: XXXXXX4777

Amount
2,741.28
3,140.00
3,493.74
3,899.29
3,680.23
3,783.56
3,802.26
§,038.72
250.00
8,873.14
9,064.09
13,423.12
14,266.65
14,576.49
14,743.56
18,442 52
18,703.25
17,379.85
18,847.18
20,816.87
16.00
25.00
37.32
2547.44
670.94
719.06
1,180.59
1,897.26
2,506.00
3,521.27
3,892.39
4,016.18
4,180.98
4,358.40
4,898.58
4,821.47
5,204.49
5,382.46
7,128.53
689.07
4,201.56
3,058.46
3,082.85
3,376.64
4,288.34
4,872.38
§,073.25
5,097.73
7,333.34
30.06
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301.37
4,377.97
2,503.98
2,558.80
2,838.28
2,900.43
2,929.24
3,089.75

  
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BARFLY VENTURES, LLC Page: 4 of 11
GRAND RAP De Lee Statement Date: 07/31/2020

 
   

   
 
  
   
 

Description Amount
Transfer From Coml Analysis Ck Account 3877 3,869.97
Transfer From Coml Analysis Ck Account 3859 3,983.27
Gordon Food Serv Ar Payment 0001-100074259 5.72

Gordon Food Serv Ar Payment 0001-100112905 8.16
Gordon Food Serv Ar Payment 0001-100246424. 8.28

Comb. Dep. Worldpay Worldpay Comb. Dep. Term ay 10.00
Gordon Food Serv Ar Payment 0001-100099955 11.04
Gordon Food Serv Ar Payment 0001-100271780 13.80
Gordon Food Serv Ar Payment 0001-100143273 14.74
Gordon Food Serv Ar Payment 0001-1001 18234 16.56
Gordon Food Serv Ar Payment 0001-1001 19375 24.84
Mercmobile Deposit . 138.10
Transfer From Com Analysis Ck Account I 9044 184.75
Mercmobile Deposit. 467.79
Mercmobile Deposit 1,111.09
Mercmobile Deposit 2,161.66
Transfer From Comi Analysis Ck Account [3840 2,261.78
Mercmobile Deposit 2,564.11

Transfer From Coml Analysis Ck Account 0451 2,733.09

Transfer From Comi Analysis Ck Account 0830 2,752.88
Transfer From Com Analysis Ck Account 1069 3,180.05
Transfer From Comi Analysis Ck Account 3859 . 3,774.22
Transfer From Com! Analysis Ck Account 3877 3,829.30
Transfer From Coml Analysis Ck Account 0488 _ 3,997.33
Transfer From Com! Analysis Ck Account 9227 4,347.41

 
   

  
 
 
  
 
  
 
  
 
 
  
 
  
  
 
  
 
  
   
  
 
   
  
 

Transfer From Com! Analysis Ck Account 4123 4,501.35
Transfer From Coml Analysis Ck Account 4115 5,635.61
Incoming Wire 41139736 Barfly Ventures, Llc 072410013 241,858.91
Comb. Dep. Worldpay Worldpay Comb. Dep. Tern i 25.00
American Express Settlement XXXXXX5238 . 48.16
Transfer From Com! Analysis Ck Account 940.38
Transfer From Coml Analysis Ck Account 5,643.01
Transfer From Coml Analysis Ck Account 7,385.27
Transfer From Com! Analysis Ck Account 10,241.30
Transfer From Coml Analysis Ck Account 10,251.05
Transfer From Com! Analysis Ck Account 12,782.29
Transfer From Coml Analysis Ck Account 13,040.07
Transfer From Comi Analysis Ck Account 15,793.22
Transfer From Coml Analysis Ck Account 15,848.56
Transfer From Comi Analysis Ck Account 15,909.07
Transfer From Com! Analysis Ck Account 18,577.63
Transfer From Coml Analysis Ck Account 1,183.75
Transfer From Comi Analysis Ck Account 1,319.30
Transfer From Com! Analysis Ck Account 1,554.63
Transfer From Comi Analysis Ck Account 2,810.01
Transfer From Com! Analysis Ck Account 3,946.46
Transfer From Coml Analysis Ck Account 4,397.65
Transfer From Comi Analysis Ck Account 4,608.85
Transfer From Goml Analysis Ck Account 6,404.02
Transfer From Comi Analysis Gk Account 7,636.18
Transfer From Com! Analysis Ck Account 8,492.02
Transfer From Coml Analysis Ck Account 16,496.57
Transfer From Coml Analysis Ck Account 494.65
Transfer From Coml Analysis Ck Account 2,033.54
Comb. Dep. Worldpay Worldpay Comb. Dep. Term 2,250.00
Transfer From Coml Analysis Ck Account 4115 2,346.44
Transfer From Coml Analysis Ck Account 0830 2,929.79
Transfer From Coml Analysis Ck Account 8171 3,126.13

Transfer From Coml Analysis Ck Account 3877 ‘ 3,457.65

Primary Account: XXXXXX4777
MGMCSTMTN 200801-18827-0005

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BARFLY VENTURES, LLC Page: 5 of 11
GRAND RAP DS Maa Statement Date: 07/31/2020

Primary Account: XXXXXX4777

 

 
  

  
 
 
  

  

Date Description Amount

     
  
 
  
   
 
 
  
 
      
    
   
   
 
 
 
    
   
 
 
     
   
 
 
 
 
  
 
 
 
 
 
 
  
 
 
 
  
 
 
 
  
   
 
   
  

07/22 Transfer From Coml Analysis Ck Account 3859 3,980.79
07/22 Transfer From Coml Analysis Ck Account 4123 4,171.36
07/22 Transfer From Coml Analysis Ck Account 9227 4,649.16
07/22 Transfer From Comi Analysis Ck Account 0488 5,841.31
07/22 Transfer From Com! Analysis Ck Account 3840 ) 14,661.25
07/23 Comb. Dep. Worldpay Worldpay Comb. Dep. lerm iy 25.00
07/23 Transfer From Com! Analysis Ck Account 0830 863.83
07/23 Transfer From Coml Analysis Ck Account 1069 1,067.33
07/23 Transfer From Com Analysis Ck Account 8215 1,784.00
07/23 Payments Bhn Ft Sre 10013190000000001 For 2020-07-23 A/C Mercanti , 2,720.00
07/23 Transfer From Coml Analysis Ck Account 3840 2,763.89
07/23 Transfer From Coml Analysis Ck Account 3877 2,931.38
07/23 Transfer From Coml Analysis Ck Account 4115 2,987.23
07/23 Transfer From Coml Analysis Ck Account 0451 3,231.04
07/23 Transfer From Coml Analysis Ck Account 8171 3,659.37
07/23 Transfer From Coml Analysis Ck Account 0488 3,984.57
07/23 Transfer From Coml Analysis Ck Account 4123 4,555.32
07/23 Transfer From Coml Analysis Ck Account 9227 4,714.93
07/23 Transfer From Coml Analysis Ck Account 3859 4,915.74
07/24 Comb. Dep. Worldpay Worldpay Comb. Dep. Jerm 30.00
07/24 Transfer From Com! Analysis Ck Account 8171 1,543.42
07/24 Transfer From Coml Analysis Ck Account 1069 1,762.75
07/24 Transfer From Coml Analysis Ck Account 0451 2,773.78 ~
07/24 Transfer From Com! Analysis Ck Account 0830 . 3,925.06
07/24 Transfer From Com! Analysis Ck Account 4123 4,750.85
07/24 Transfer From Coml Analysis Ck Account 3840 4,778.71
07/24 Transfer From Coml Analysis Ck Account 3877 5,570.39
07/24 Transfer From Coml Analysis Ck Account 3859 - 6,189.20
07/24 Transfer From Com! Analysis Ck Account 0488 6,444.81
07/24 Transfer From Coml Analysis Ck Account 9227 6,849.73
07/24 Transfer From Coml Analysis Ck Account 4115 8,251.53
07/27 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 25.00
07/27 Comb. Dep. Worldpay Woridpay Comb. Dep. Term 50.00
07/27 Transfer From Coml Analysis Ck Account 7,194.14
07/27 Transfer From Coml Analysis Ck Account 7,448.52
07/27 Transfer From Comi Analysis Ck Account 7,960.85
07/27 Transfer From Com! Analysis Ck Account 10,787.93
07/27 Transfer From Coml Analysis Ck Account 12,699.79
07/27 Transfer From Coml Analysis Ck Account 13,263.22
07/27 Transfer From Coml Analysis Ck Account 13,757.43
07/27 Transfer From Com! Analysis Ck Account 15,430.39
07/27 Transfer From Coml Analysis Ck Account 17,916.44
07/27 Transfer From Coml Analysis Ck Account 19,146.61
07/27 Transfer From Coml Analysis Ck Account 21,831.43
07/28 Transfer From Coml Analysis Ck Account 723.38
07/28 Transfer From Com! Analysis Ck Account 1,489.77
07/28 Transfer From Coml Analysis Ck Account 1,516.54
07/28 Transfer From Coml Analysis Ck Account 2,932.54
07/28 Transfer From Coml Analysis Ck Account 3,015.71
07/28 Transfer From Coml Analysis Ck Account 3,844.14
07/28 Transfer From Coml Analysis Ck Account 4,130.84
07/28 Transfer From Coml Analysis Ck Account 4,732.59
07/28 Transfer From Coml Analysis Ck Account 5,990.47
07/28 Transfer From Com! Analysis Ck Account 6,306.84
07/29 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 30.00
07/29 American Express Settlement XXXXXX5238 48.11

07/29 Transfer From Com! Analysis Ck Account 1069 1,031.62
07/29 Transfer From Comi Analysis Ck Account 0830 1,988.86
07/29 Transfer From Coml Analysis Ck Account 3859 2,212.33
Case:20-01947-jwb Doc #:327-1 Filed: 09/23/2020 Page 6 of 66

BARFLY VENTURES, LLC Page: 6 of 11
GRAND ae Oe eee Statement Date: 07/31/2020
Primary Account: XXXXXX4777

MGMCSTMTN 200801-1 8827-0006

 

  

  
 
  
 
  
   
  

 

    
  
 
   
 
  
   
   
  
 
 
 
  
 
 
  
  
 

  
 

 

Amount

Date Description

07/29 Transfer From Coml Analysis Ck Account 2,780.59
07/29 Transfer From Coml Analysis Ck Account 3,168.03
07/29 Transfer From Coml Analysis Ck Account 3,588.34
07/29 Transfer From Coml Analysis Ck Account 3,798.18
07/29 Transfer From Coml Analysis Ck Account 4,103.69
07/29 Transfer From Coml Analysis Ck Account 4,623.87
07/29 Transfer From Coml Analysis Ck Account 0488 4,720.34
07/29 Transfer From Com! Analysis Ck Account 4123 7,353.97
07/30 Transfer From Coml Analysis Ck Account 0830 35.26
07/30 Transfer From Coml Analysis Ck Account 3877 767.02
07/30 Payments Bhn Ft Sre 10013190000000001 For 2020-07-30 A/C Mercanti 977.50
07/30 Transfer From Com! Analysis Ck Account 0451 1,598.19
07/30 Transfer From Coml Analysis Ck Account 1069 1,752.78
07/30 Transfer From Coml Analysis Ck Account 3840 1,819.74
07/30 Transfer From Coml Analysis Ck Account 8171 2,580.45
07/30 Transfer From Com! Analysis Ck Account 9227 3,456.45
07/30 Transfer From Coml Analysis Ck Account 0488 3,559.97
07/30 Transfer From Coml Analysis Ck Account 4115 3,810.21
07/30 Transfer From Coml Analysis Ck Account 4123 4,115.55
07/30 Transfer From Coml Analysis Ck Account 3859 5,444.18
07/31 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 25.00
07/31 Avidpay Hopcat-Lexington Ref*Ck*82827*200108*Fasisigns\4 /264972\3264242\47264 124.50
07/31 Transfer From Comi Analysis Ck Account I 0451 180.54
07/31 Mercmobile Deposit 270.19
07/31 Mercmobile Deposit 1,522.25
07/31 Transfer From Com! Analysis Ck Account 0830 1,583.09
07/31 Transfer From Coml Analysis Ck Account 1069 1,984.18
07/31 Transfer From Com Analysis Ck Account 3877 3,398.81
07/31 Transfer From Com! Analysis Ck Account 3,420.96
07/31 Transfer From Coml Analysis Ck Account 3,559.41
07/31 Transfer From Coml Analysis Ck Account 4,003.75
07/31 Transfer From Coml Analysis Ck Account 4,011.13
07/31 Transfer From Coml Analysis Ck Account 4,434.22
07/31 Transfer From Coml Analysis Ck Account 4,787.91
07/31 Transfer From Comi Analysis Ck Account 7,564.36

  

    

 

 

Date Check No Amount Date Check No Amount Date Check No Amount
07/10 83549 * 385.00 07/09 83586 345.72 07/16 83608 * 336.24
07/01 83552 * 925.00 07/09 83587 405.40 07/16 83610 759.21
07/31 83558 * 23,277.60 07/09 83588 407.16 - 07/24 83611 1,094.00
07/02 83568 336.23 07/07 83589 10,050.00 07/24 83612 775.44
07/02 83569 369.00 07/10 83590 480.26 07/24 83613 929.88
07/13 83570 248.85 07/10 83591 §12.93 07/22 83614 100.00
07/08 83571 607.54 07/10 83592 518.09 07/21 83615 1,995.00
07/08 83572 149.85 07/10 83593 556.83 07/21 83616 1,061.42
07/08 83573 950.00 07/15 83594 275.29 07/21 83617 * 20.00
07/08 83574 29.95 07/14 83595 * 976.27 07/22 83619 142.53
07/08 83575 350.00 07/20 83597 62.28 07/29 83620 29.95
07/09 83576 140.82 07/15 83598 1,453.11 07/29 83621 29.95
07/07 83577 168.00 07/23 83599 337.13 07/29 83622 31.70
07/07 83578 1,300.00 07/14 83600 7,478.85 07/29 83623 200.61
07/06 83579 2,292.84 07/15 83601 20.00 07/29 83624 187.24
07/07 83580 , 90.00 07/14 83602 197.00 07/29 83625 253.35
07/07 83581 316.62 07/20 83603 190.80 07/29 83626 253.35
07/08 83582 * 43.07 07/15 83604 341.15 07/31 83627 1,272.54
07/08 83584 414.40 07/6 83605 19.49 07/31 ‘83628 601.85
07/09 83585 433.59 07/16 83606 * 1,500.00 07/31 83629 908.32

 

* Indicates a Gap in Check Number Sequence

 
MGMCSTMTN 200801 -48827-0007

 

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BARFLY VENTURES, LLC
35 OAKES ST SW STE 400
GRAND RAP DS, MI 49503

  

Page:
Statement Date:
Primary Account:

7 of 11
07/31/2020
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Date Check No Amount Date Check No Amount
07/31 83630 1,084.14 07/27 83640 499.26
07/28 83631 240.37 07/29 83641 90.00
07/28 83632 444.71 07/29 83642 245.50
07/28 83633 237.11 07/28 83643 467.32
07/28 83634 970.80 07/29 83644 45.98
07/27. 83635 580.75 07/28 83645 428.88
07/27 83636 501.03 07/28 83646 302.82
07/27 83637 505.54 07/28 83647 9.50
07/27 83638 * 543.74 07/27 83648 277.00

* Indicates a Gap in Check Number Sequence

 
  

Date Description
07/01 Gordon Food Serv Ar Payment 0001-100112905 /
07/01 Internet Transfer To Internal Bank Ac XXXXXX639 On 7/01/20 At 11:27
07/01 Visa Payment 402884xxxxx7816 .

07/01 Internet Transfer To Internal Bank Ac XXXXXX639 On 7/01/20 At 13:29
07/02 Transfer To Coml Analysis Ck Account J§0488

07/02 Gordon Food Serv Ar Payment 0001-100074259

07/02 Barfly Ventures 1054 May Fees

07/02 Gordon Food Serv Ar Payment 0001-100018600

07/02 Gordon Food Serv Ar Payment 0001-100143273

07/02 Gordon Food Serv Ar Payment 0001-1001 18234

07/02 Gordon Food Serv Ar Payment 0001-100271780

07/02 Gordon Food Serv Ar Payment 0001-100112905

07/02 Gordon Food Serv Ar Payment 0001-100046117

07/02 Gordon Food Serv Ar Payment 0001-100246424

07/02 Gordon Food Serv Ar Payment 0001-100099955

07/02 Gordon Food Serv Ar Payment 0001-100154482

07/02 Barfly Ventures 1054 June Fees

07/02 Gordon Food Serv Ar Payment 0001-100119375

07/03 Gordon Food Serv Ar Payment 0001-100018600

07/03 Enviro-Master In Ach Batch Northern Mi

07/03 Gordon Food Serv Ar Payment 0001-100112905

07/03 Gordon Food Serv Ar Payment 0001-100143273

07/03 Outgoing Wire 94309 Adp Client Trust
07/03 Outgoing Wire 94296 Adp Client Trust
07/03 Outgoing Wire 94308 Adp Client Trust
07/06 Transfer To Com! Analysis Ck Account
07/06 Transfer To Comi Analysis Ck Account
07/06 Transfer To Com! Analysis Ck Account
07/06 Transfer To Com! Analysis Ck Account

 
  
 
 
  
  
   
   
  
   
 

07/06 Mthchgs Worldpay Merch Bankcard Barfly App

07/06 Transfer To Com! Analysis Ck Account 9227

07/06 Internet Transfer To Internal Bank Ac XXXXXX639 On 7/06/20 At 15:18
07/07 Transfer To Coml Analysis Ck Account 8215

07/07 Transfer To Com! Analysis Ck Account 5216

07/07 Transfer To Coml Analysis Ck Account 8353

07/07 Transfer To Coml Analysis Ck Account 9044
07/07 Transfer To Com! Analysis Ck Account 9062
07/07 Transfer To Com! Analysis Ck Account 8664
07/07 Gordon Food Serv Ar Payment 0001-100099955
07/07 Gordon Food Serv Ar Payment 0001-100074259
07/07 Gordon Food Serv Ar Payment 0001-100154482
07/07 Gordon Food Serv Ar Payment 0001-100246424
07/07 Valley City Line Ach Xfer

07/07 Gordon Food Serv Ar Payment 0001-100046117
07/07 Gordon Food Serv Ar Payment 0001-100112905

Check No
83649
83650
83651
83652
83653 *
83656
83657

 

 

Amount
130.30
787.09
210.17
307.00
261.25

3,681.50

2,475.32

  

Amount
144.42
1,656.00
3,752.86
13,652.26
173.17
1,657.58
2,128.33
2,155.78
2,213.44
2,305.72
2,950.80
3,118.86
3,452.41
3,644.84
4,132.49
4,701.40
4,837.65
5,358.16
42.53
120.90
155.31
155.67
2,224.96
92,024.61
174,998.45
2.10
8.00
12.10
12.10

17.50
17.50
736.21
980.21
1,694.09
1,989.44
3,820.16
4,614.14
4,642.45
MGMCSTMTN 200801 -18827-0008

 

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BARFLY VENTURES, LLC
35 OAKES ST SW STE 400
GRAND RAP DS, Mi 49503

Description
Gordon Food Serv Ar Payment 0001-100271780
Gordon Food Serv Ar Payment 0001-100119375
Gordon Food Serv Ar Payment 0001-100143273
Gordon Food Serv Ar Payment 0001-100018600
Gordon Food Serv Ar Payment 0001-100118234
Quigoing Wire 94471 Chemical Bank

Transfer To Com! Analysis Ck Account 4123
Credit Card Payment

Transfer To Com! Analysis Ck Account 8215
Transfer To Coml Analysis Ck Account 9062

Olo - Help@olo.c Purchase Denise Williams

Olo - Help@olo.c Purchase Denise Williams

Transfer To Coml Analysis Ck Account 0830

Gordon Food Serv Ar Payment 0001-100154482

Gordon Food Serv Ar Payment 0001-100074259

Gordon Food Serv Ar Payment 0001-100118234

Gordon Food Serv Ar Payment 0001-100046117

Olo - Help@olo.c Purchase Denise Williams

Gordon Food Serv Ar Payment 0001-100143273

Gordon Food Serv Ar Payment 0001-100112905

Gordon Food Serv Ar Payment 0001-100119375

Internet Transfer To internal Bank Ac XXXXXX639 On 7/09/20 At 9:25
Gordon Food Serv Ar Payment 0001-100099955

Gordon Food Serv Ar Payment 0001-100246424

Gordon Food Serv Ar Payment 0001-100271780

intemet Transfer To Internal Bank Ac XXXXXX639 On 7/09/20 At 9:26
Internet Transfer To Internal Bank Ac XXXXXX639 On 7/09/20 At 15:20
Internet Transfer To Internal Bank Ac XXXXXX639 On 7/09/20 At 9:27
ins Prem Enroll 123 Llc Nte*Teladoc Invoice

Enviro-Master In Ach Batch Northern Mi

Gordon Food Serv Ar Payment 0001-100046117

Gordon Food Serv Ar Payment 0001-100018600

internet Transfer To Internal Bank Ac XXXXXX639 On 7/10/20 At 13:31
Transfer To Coml Analysis Ck Account 8215

Gordon Food Serv Ar Payment 0001-1001 18234

Gordon Food Serv Ar Payment 0001-100246424

Gordon Food Serv Ar Payment 0001-100074259

Gordon Food Serv Ar Payment 0001-100099955

Gordon Food Serv Ar Payment 0001-100154482

Gordon Food Serv Ar Payment 0001-100018600

Contribute Aegon Usa 202007 139223f136185872781 1375001 icorp
Gordon Food Serv Ar Payment 0001-100112905

Internet Transfer To Internal Bank Ac XXXXXX639 On 7/14/20 At 9:06
Gordon Food Serv Ar Payment 0001-100143273

Gordon Food Serv Ar Payment 0001-100271780

Gordon Food Serv Ar Payment 0001-100046117

Valley City Line Ach Xfer

Gordon Food Serv Ar Payment 0001-100119375

internet Transfer To Internal Bank Ac XXXXXX639 On 7/14/20 At 9:07
Gordon Food Serv Ar Payment 0001-100118234

Accident Fund Online Pay

Quigoing Wire 95012 Chemical Bank

Internet Transfer To Com! Analysis Ck XXXXXX4153 On 7/14/20 At 9:04
Internet Transfer To Internal Bank Ac XXXXXX639 On 7/14/20 At 9:09

   
  
 

Transfer To Coml Analysis Ck Account 4460

Transfer To Com! Analysis Ck Account 5216
Transfer To Coml Analysis Ck Account 8664
Transfer To Coml Analysis Ck Account 8215

Transfer To Com! Analysis Ck Account 9044

Page 8 of 66

Page: 8 of 11
Statement Date: 07/31/2020
Primary Account: XXXXXX4777

 
   

Amount
4,891.68
5,081.50
5,428.24
5,779.24
7,340.29
50,000.00
787.19
6,733.69
37.32
37.32
186.00
303.39
581.45
687.08
828.14
1,511.29
1,914.99
2,145.00
2,278.55
2,314.16
2,682.72
2,722.33
2,961.56
3,344.38
3,771.25
6,034.99
25,752.30
30,000.00
103.50
120.90
1,752.03
1,957.27
7,655.89
37.32
766.52
1,003.50
1,135.83
1,690.23
1,770.76
1,856.99
2,111.24
2,885.75
3,000.00
3,295.90
3,300.33
3,419.03
3,494.36
3,893.50
5,000.00
5,184.45
10,164.40
25,000.00
30,000.00
75,000.00
67.76
67.77
67.78
67.92
68.38
MGMCSTMTN 200801-1 8827-0009

 

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BARFLY VENTURES, LLC
35 OAKES ST SW STE 400
GRAND RAP DS, Mi 49503

Description
Gordon Food Serv Ar Payment 0001-100018600

Transfer To Com! Analysis Ck Account gj0888

Commercial Service Charge

Transfer To Com! Analysis Ck Account 3840

Visa Payment 402884xxxxx7816

Transfer To Comi Analysis Ck Account 9044

Gordon Food Serv Ar Payment 0001-100046117

Gordon Food Serv Ar Payment 0001-100074259

Gordon Food Serv Ar Payment 0001-100143273

Intemet Transfer To Internal Bank Ac XXXXXX639 On 7/16/20 At 13:59
Gordon Food Sery Ar Payment 0001-100099955

Gordon Food Serv Ar Payment 0001-100112905

Internet Transfer To Internal Bank Ac XXXXXX639 On 7/16/20 At 9:14
Gordon Food Serv Ar Payment 0001-100018600

Gordon Food Serv Ar Payment 0001-1001 18234

Transfer To Coml Analysis Ck Account i O830

Gordon Food Serv Ar Payment 0001-100154482

Gordon Food Serv Ar Payment 0001-100271780

Gordon Food Serv Ar Payment 0001-100246424

Gordon Food Serv Ar Payment 0001-100119375

Internet Transfer To Internal Bank Ac XXXXXX639 On 7/16/20 At 9:10
Intemet Transfer To Internal Bank Ac XXXXXX639 On 7/16/20 At 9:12
Internet Transfer To Internal Bank Ac XXXXXX639 On 7/16/20 At 13:45
Gordon Food Serv Ar Payment 0001-100154482

Transfer To Com! Analysis Ck Account gggj0888

Gordon Food Serv Ar Payment 0001-100018600

Enviro-Master In Ach Batch Northern Mi

Transfer To Coml Analysis Ck Account 8171

Outgoing Wire 95365 Adp Client Trust

Internet Transfer To internal Bank Ac XXXXXX639 On 7/17/20 At 14:42
Gordon Food Serv Ar Payment 0001-100046117

Barfly Ventures 1054 Add Funds

Outgoing Wire 95362 Adp Client Trust

Outgoing Wire 95363 Adp Client Trust

Gordon Food Serv Ar Payment 0001-100154482

Gordon Food Serv Ar Payment 0001-100074259

Transfer To Comi Analysis Ck Account 4460

internet Transfer To Internal Bank Ac XXXXXX639 On 7/20/20 At 12:33
Gordon Food Serv Ar Payment 0001-100118234

internet Transfer To Internal Bank Ac XXXXXX639 On 7/20/20 At 13:14
Gordon Food Serv Ar Payment 0001-100099955

Gordon Food Serv Ar Payment 0001-100074259

Gordon Food Serv Ar Payment 0001-100271780

Gordon Food Serv Ar Payment 0001-100112905

Gordon Food Serv Ar Payment.0001-100046117

Gordon Food Serv Ar Payment 0001-100018600

Valley City Line Ach Xfer

Gordon Food Serv Ar Payment 0001-100143273

Gordon Food Serv Ar Payment 0001-100119375

Gordon Food Serv Ar Payment 0001-100246424

Gordon Food Serv Ar Payment 0001-100118234

Gordon Food Serv Ar Payment 0001-100154482

Enviro-Master In Ach Batch Northern Mi

Transfer To Coml Analysis Ck Account 0888

Visa Payment 402884xxxxx7816

Internet Transfer To Internal Bank Ac XXXXXX639 On 7/22/20 At 13:45
internet Transfer To Coml Analysis Ck XXXXXX4153 On 7/22/20 At 13:48
Gordon Food Serv Ar Payment 0001-100074259

Gordon Food Serv Ar Payment 0001-100118234

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Page:
Statement Date:
Primary Account:

9 of 11
07/31/2020
XXXXXX4777

 
   

Amount
83.82
153.75
443.23
1,520.84
7,884.83
184.75
889.85
1,310.54
1,600.35
1,656.57
2,233.60
2,354.65
2,500.00
2,518.50
2,564.16
2,745.11
3,029.29
3,247.55
3,506.69
3,797.05
6,531.75
11,477.00
54,671.59
22.69
35.00
142.61
320.90
684.68
1,845.16
2,323.50
2,608.43
24,000.00
76,736.07

3,945.05
4,845.32
5,557.82
5,991.82
120.90
140.00
2,922.82
27,621.32
40,000.00
1,117.49
1,287.53
MGMCSTMTN 200801-1 8827-0010

 

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BARFLY VENTURES, LLC Page: 10 of 11
GRAND BAP De aa Statement Date: 07/31/2020

Primary Account: XXXXXX4777

 
   

Description Amount
Gordon Food Serv Ar Payment 0001-100143273 1,539.50
Gordon Food Serv Ar Payment 0001-100112905 3,052.66
Gordon Food Serv.Ar Payment 0001-100119375 3,328.55
Gordon Food Serv Ar Payment 0001-100046117 3,348.78
Gordon Food Serv Ar Payment 0001-100154482 3,671.84
Gordon Food Serv Ar Payment 0001-100271780 , 3,773.12
‘Gordon Food Serv Ar Payment 0001-100246424 3,999.41
Gordon Food Serv Ar Payment 0001-100018600 4,170.84
Gordon Focd Serv Ar Payment 0001-100099955 5,406.51
Intemet Transfer To Internal Bank Ac XXXXXX639 On 7/23/20 At 12:21 80,000.00
Gordon Food Serv Ar Payment 0001-100018600 : 71.60
Gordon Food Serv Ar Payment 0001-100154482 89.83
Gordon Food Serv Ar Payment 0001-100046117 419.12
Visa Payment 402884xxxxx7816 2,895.77
Barfly Ventures 1054 July Fees 23,055.77
Gordon Food Serv Ar Payment 0001-100271780 44.47
Gordon Food Serv Ar Payment 0001-100246424 42.93
Gordon Food Serv Ar Payment 0001-100046117 340.70
Swanel Beverage 769.40
Gordon.Food Serv Ar Payment 0001-100118234 4,354.97
Barfly Ventures 1054 August Fees 15,432.97
Gordon Food Serv Ar Payment 0001-100074259 615.38
Transfer To Coml Analysis Ck Account 3877 1,846.14
Gordon Food Serv Ar Payment 0001-100099955 , 2,076.12
Gordon Food Serv Ar Payment 0001-100112905 2,599.83
Gordon Food Serv Ar Payment 0001-100046117 3,017.24
Valley City Line Ach Xfer 3,089.78
Gordon Food Serv Ar Payment 0001-100143273 3,605.33
Gordon Food Serv Ar Payment 0001-100271780 3,910.30
Gordon Food Serv Ar Payment 0001-100119375 4,016.59
Gordon Food Serv Ar Payment 0001-100118234 4,156.96
Gordon Food Serv Ar Payment 0001-100154482 4,672.11
Gordon Food Serv Ar Payment 0001-100018600 5,335.43
internet Transfer To Internal Bank Ac XXXXXX639 On 7/28/20 At 15:06 5,467.80
Internet Transfer To internal Bank Ac XXXXXX639 On 7/28/20 At 15:08 5,765.00
Gordon Food Serv Ar Payment 0001-100246424 . * 6,690.79
Internet Transfer To internal Bank Ac XXXXXX639 On 7/28/20 At 15:07 7,000.00
internet Transfer To Coml Analysis Ck XXXXXX4153 On 7/28/20 At 15:03 18,742.38
Internet Transfer To internal Bank Ac XXXXXX639 On 7/28/20 At 15:09 60,000.00
Gordon Food Serv Ar Payment 0001-100271780 11.97
Gordon Food Serv Ar Payment 0001-100099955 17.47
Gordon Food Serv Ar Payment 0001-100246424 48.12
Enviro-Master In Ach Batch Northern Mi . 120.90
Visa Payment 402884xxxxx7816 4,617.21
Gordon Food Serv Ar Payment 0001-100143273 1,791.15
Gordon Food Serv Ar Payment 0001-100118234 1,945.74
Gordon Food Serv Ar Payment 0001-100074259 1,979.23
Gordon Food Serv Ar Payment 0001-100046117 2,714.15
Gordon Food Serv Ar Payment 0001-100112905 2,863.59
Gordon Food Serv Ar Payment 0001-100018600 3,281.99
Gordon Food Serv Ar Payment 0001-100154482 3,784.05
Gordon Food Serv Ar Payment 0001-100246424 : 3,884.35
Gordon Food Serv Ar Payment 0001-100271780 . 4,569.06
Gordon Food Serv Ar Payment 0001-100099955 4,670.67
Gordon Food Serv Ar Payment 0001-100119375 5,446.18
Intemet Transfer To Internal Bank Ac XXXXXX639 On 7/30/20 At 12:31 44,378.87
Gordon Food Serv Ar Payment 0001-100112905 50.33
Gordon Food Serv Ar Payment 0001-100018600 74,35
Gordon Food Serv Ar Payment 0001-100154482 103.66
MGMCSTMTN 200801 -18827-0011

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BARFLY VENTURES, LLC Page: 11 of 11
GRAND RAP DO Meee Statement Date: 07/31/2020

Primary Account: XXXXXX4777

 

 
        

Date Balance Date Balance Date Balance
07/01 128,794.12 07/13 250,736.34 07/23 108,757.92
07/02 114,271.44 07/14 112,979.29 07/24 132,296.74
07/03 105,049.71 07/15 138,207.85 07/27 251,477.14
07/06 178,583.47 07/16 55,375.24 07/28 139,849.55
07/07 115,009.10 07/17 71,834.15 07/29 170,638.86
07/08 125,619.19 07/20 191,855.17 07/30 119,247.13
07/09 65,758.92 07/21 204,693.15 07/31 132,437.64

07/10 87,702.84 07/22 183,587.65
Case:20-01947-jwb Doc #:327-1 Filed: 09/23/2020 Page 12 of 66

    

Statement Ending Balance 132,437.64
Deposits in Transit . 153.14
Outstanding Checks and Charges -343,008.34
Adjusted Bank Balance 1210,417.56

 

Book Balance -210,417.56

Adjustments* 0.00
Adjusted Book Balance :

~210,417.56

Total Checks and Charges Cleared 292,289.20 Total Deposits Cleared 292,430.10

 
     
 

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General Ledger Entry

   

07/17/2020 8.28
General Ledger Entry . GFS RD WCHL 07/17/2020 13.80
General Ledger Entry GFS RE Grec 07/17/2020 5.72
General Ledger Entry crs ii HCDT 07/17/2020 16.56
General Ledger Entry GFS Het 07/17/2020 11.04
General Ledger Entry Crs HCLN 07/17/2020 14.74
General Ledger Entry Crs i HCAA 07/17/2020 24.84
General Ledger Entry GFS RS icin 07/17/2020 8.16
General Ledger Entry Paytronix E-Gift Card Payment 07/20/2020 eft 25.00
General Ledger Entry Paytronix E-Gift Card Payment 07/23/2020 eft 25.00
General Ledger Entry Interco CASH 07/27/2020 eft 13,263.22
General Ledger Entry Interco CASH 07/27/2020 eft 12,699.79
General Ledger Entry Interco CASH 07/27/2020 eft 10,787.93
General Ledger Entry Interco CASH 07/27/2020 eft 7,960.85
General Ledger Entry Interco CASH 07/27/2020 eft 7,448.52
General Ledger Entry Interco CASH 07/27/2020 eft 7,194.14
General Ledger Entry Paytronix E-Gift Card Payment 07/27/2020 eft 50.00
General Ledger Entry Paytronix E-Gift Card Payment 07/27/2020 eft 25.00
General Ledger Entry Interco CASH 07/27/2020 eft 21,831.43
General Ledger Entry Interco CASH 07/27/2020 eft 19,146.61
General Ledger Entry Interco CASH 07/27/2020 eft 17,916.44
General Ledger Entry Interco CASH 07/27/2020 eft 15,430.39
General Ledger Entry Interco CASH 07/27/2020 eft 13,757.43
Genera! Ledger Entry Interco CASH 07/28/2020 eft 6,306.84
General Ledger Entry Interco CASH 07/28/2020 eft 5,990.47
General Ledger Entry Interco CASH 07/28/2020 eft 4,732.59
General Ledger Entry Interco CASH 07/28/2020 eft 4,130.84
General Ledger Entry Interco CASH 07/28/2020 eft 3,844.14
General Ledger Entry Interco CASH 07/28/2020 eft 3,015.71
General Ledger Entry Interco CASH 07/28/2020 eft 2,932.54
General Ledger Entry Interco CASH 07/28/2020 eft 1,516.54
General Ledger Entry Interco CASH 07/28/2020 eft 1,489.77
General Ledger Entry Interco CASH 07/28/2020 eft 723.38
General Ledger Entry Interco CASH 07/29/2020 eft 7,353.97
Case:20-01947-jwb Doc #:327-1 Filed: 09/23/2020 Page 13 of 66

General Ledger Entry
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Grubhub

Grubhub

Total Deposits

  
 

Recovery
Breanne Millstein

Innovo Development Group,- RO

General Ledger Entry
- Enrofl123, LLC

Jill Spruit

General Ledger Entry
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Interco CASH 07/29/2020
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Paytronix E-Gift Card Payment 07/29/2020
Paytronix E-Gift Card Payment 07/29/2020
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Interco CASH 07/30/2020
Blackhawk Payment 07/30/2020
Interco CASH 07/30/2020
AVIDPAY LX REF*CK*82827*FASTSIGNS\: 07/31/2020
Interco CASH 07/31/2020
Paytronix E-Gift Card Payment 07/31/2020
Interco CASH : 07/31/2020
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Interco CASH 07/31/2020
801888584 07/31/2020
801877410 07/31/2020

09/25/2019
01/02/2020
03/05/2020
PNC and US Bank Transfer 05/06/2020

05/13/2020

05/28/2020
AVIDPAY BARFLY VENTURES REF*CK*832 05/29/2020
HCMD ACCIDENT FUND ONLINE PAY 3879 06/04/2020
HCRO ACCIDENT FUND ONLINE PAY 3879: 06/04/2020
HCLV ACCIDENT FUND ONLINE PAY 38791 06/04/2020
GRBC ACCIDENT FUND ONLINE PAY 3879: 06/04/2020
HCMN ACCIDENT FUND ONLINE PAY 3879 06/04/2020

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3,588.34
3,168.03
2,780.59
2,212.33
1,988.86
1,031.62
48.11
30.00
4,115.55
3,810.21
3,559.97
3,456.45
2,580.45
1,819.74
1,752.78
1,598.19
767.02
35.26
977.50
5,444.18
124.50
180.54
25.00
7,564.36
4,787.91
4,434.22
4,011.13
4,003.75
3,559.41
3,420.96
3,398.81
1,984.18
1,583.09
270.19
1,522.25
292,430.10

 

153.14

100.00 —
16.00
360.51
28,500.00
18.00
165.00
450.00
27.95
57.95
22.95
27.95
17.50
Case:20-01947-jwb . Doc #:327-1 Filed: 09/23/2020 Page 14 of 66

General Ledger Entry
General Ledger Entry
General Ledger Entry
General Ledger Entry
General Ledger Entry

General Ledger Entry .

General Ledger Entry

City of Grand Rapids Income Tax Dept
Kentucky Department of Revenue
Lexington-Fayette Divis on of Revenue

General Ledger Entry
General Ledger Entry
General Ledger Entry
General Ledger Entry
General Ledger Entry
General Ledger Entry
General Ledger Entry
Valley C ty Linen
General Ledger Entry
Enrolli23, LLC
Oktober LLC

Valley C ty Linen
Valley C ty Linen
Valley C ty Linen
Valley C ty Linen
Valley C ty Linen
Valley C ty Linen

Excel Pest Control - Lincoln
TIAA Commercial Finance, Inc.
TIAA Commercial Finance, Inc.

Perrigo Printing
Comcast
Comcast

- Comcast
Comcast
Comcast
Comcast
Comcast
Arrowaste Inc.
Arrowaste Inc.
Arrowaste Inc,
Arrowaste Inc.
ATT
Comcast
Comcast
Comcast
TDS
TDS
TDS
TDS
Beer City Glass
Best Way Disposal

Coverall of Western M chigan

Cozzini Bros Inc
DIRECTV

HCMN ACCIDENT FUND ONLINE PAY 3879
HCKC ACCIDENT FUND ONLINE PAY 3879:
HCMD ACCIDENT FUND ONLINE PAY 3879
HCLV ACCIDENT FUND ONLINE PAY 38791
HCKC ACCIDENT FUND ONLINE PAY 3879:
HCRO ACCIDENT FUND ONLINE PAY 3879:
HCKZ ACCIDENT FUND ONLINE PAY 38791

HCKZ ACCIDENT FUND ONLINE PAY 38793
HCBEL ACCIDENT FUND ONLINE PAY 3876
HCEL ACCIDENT FUND ONLINE PAY 38791
HCLN ACCIDENT FUND ONLINE PAY 38791
HCEL ACCIDENT FUND ONLINE PAY 38791
HCAA ACCIDENT FUND ONLINE PAY 38791
HCLN ACCIDENT FUND ONLINE PAY 38791

HCKC ACCIDENT FUND ONLINE PAY 3879:

06/04/2020
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FedEx
Great America Financial Services
HotSchedules.com, Inc
Kaat's Water Condit oning, Inc.
Kalamazoo Mechanical Inc.
Pepsi - Madison

Sonitrol Great Lakes - Michigan
Tech Masters Inc.

Terminix Processing Center
Uribe Refuse Serv ces
Washtenaw County Environmental Health
West Michigan Tag _ Label
Phoenix Construction Management & Services
Swanel Beverage Inc
Handicap Sign, Inc.

United States Treasury
Gordon Food Service
Gordon Food Service

ASR Health Benefits
Gordon Food Service
Gordon Food Service

U.S. Trustees

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Advantage Water Cond. Inc.
Ambius

Bright House Networks
Circuit Electric Inc.

City of Ann Arbor
Comcast

Cozzini Bros Inc

CTS Telecom Inc
ECOLAB

Ecolab Pest Elim Div
FedEx

Great Lakes West
Holston Gases
HotSchedules.com, Inc
Humid ty Controls LLC
LASEP, LLC

Midwest Cutlery Service
Organicycle

Paytronix Systems, Inc.
Plaza Storage, LLC
SafeCare

SHMG Occupational Health
Sonitrol Great Lakes - Michigan
Sonitrol Great Lakes - Michigan

Stanley Convergent Secur ty Solut ons, Inc.

Star 2 Star Communications LLC
Star 2 Star Communications LLC
Star 2 Star Communications LLC

Interco CASH

PNC, Chemical and US Bank Transfer
PNC, Chemical and US Bank Transfer
PNC, Chemical and US Bank Transfer
PNC, Chemical and US Bank Transfer
PNC, Chemical and US Bank Transfer

VISA PAYMENT 402884XXXXX7816

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Star 2 Star Communications LLC
Star 2 Star Communications LLC

TalentReef

VSP Insurance Co.
VSP Insurance Co.
VSP Insurance Co. '

Waste Management of Michigan

Airgas USA LLC - Rental
Allegra

NuArx Inc.

Armock Mechanical

Anthony Carpenter

Century Link Communications
Compeat, Inc.

Domant Property Services
Dover Grease Traps, Inc.
HNI Risk Advisors

My Green Michigan LLC
Nexonia Inc.

Nuco2

Premier Building Maintenance
R. L. Schrieber

Rotella‘s Italian Bakery, Inc.
Swept Away

Timothy Gauthier

Town Center Inc.

Gordon Food Service
Gordon Food Service
General Ledger Entry
General Ledger Entry
General Ledger Entry

Best Way Disposal

Total Checks and Charges

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173,866.07
82,899.04
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Case:20-01947-jwb Doc #:327-1 Filed: 09/23/2020 Page 18 of 66

   

 

Statement Ending Balance —— ~ 132,296.74
Deposits in Transit / 153.14
Outstanding Checks and Charges -84,611.45
Adjusted Bank Balance 47,838.43
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Adjustments* 2.00
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Adjusted Book Balance 47,838.43

otal Checks and Charges Cleared 267,887.79 Total Deposits Cleared 328,350.38
Deposits

 
 
 
 

 
 
 

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General Ledger Entry 07/17/2020

General Ledger Entry 07/17/2020 24.84%
General Ledger Entry 97/17/2020 , 14.74
General Ledger Entry 37/17/2020 22.04
General Ledger Entry GFS RE cpr 87/17/2020 16.56
General Ledger Entry CFs (RR acu. 07/17/2020 13.86
General Ledger Entry GFS RE Grec 07/17/2020 5.72
General Ledger Entry Paytronix E-Gift Card Payment 07/20/2020 eft 25.06

General Ledger Entry Paytronix E-Gift Card Payment 07/20/2020 eft 48.18

General Ledger Entry Interca CASH 07/20/2020 eft 940.38

General Ledger Entry Interce CASH 07/20/2020 oft 5,643.01

General Ledger Entry interco CASH 07/20/2020 eft 7,388.27

General Ledger Entry Interco CASH 7/20/2020 eft 10,241.30

General Ledger Entry Interco CASH 07/20/2020 eft 10,251.05

General Ledger Entry interca CASH 07/20/2020 eft 12,782.29

General Ledger Entry Interco CASH 07/20/2020 eft 43,040.07

General Ledger Entry Interce CASH 07/20/2020 eft 15,793.22

General Ledger Entry Interco CASH 07/20/2020 eft 15,848.56

General Ledger Entry ‘Interco CASH 07/20/2020 eft 15,909.07

General Ledger Entry Interco CASH 07/20/2020 aft 18,577.63

General Ledger Entry Paytronix E-Gift Card Payment 07/20/2020 eff 25.00
General Ledger Entry Interco CASH 07/22/2020 aft 16,496.87

General Ledger Entry Intereo CASH 07/21/2020 eft 8,492.02

General Ledger Entry interco CASH 67/21/2020 eft 7,836.18

General Ledger Entry Interco CASH 07/24/2026 eft 6,404.02

General Ledger Entry Interco CASH 07/21/2020 eft 4,608.85

General Ledger Entry Interco CASH 07/21/2020 eft 4,397,685

General Ledger Entry Interco CASH 07/21/2020 eft 3,946.46

General Ladger Entry Interco CASH 07/22/2020 eft 2,810.01

General Ledger Entry Interco CASH 07/21/2020 eft, 1,554.63

General Ledger Entry interce CASH 07/22/2020 eft 1,319.30

General Ledger Entry Interco CASH 07/24/2020 eft 3,183.75

General Ledger Entry Interco CASH 07/22/2020 aft 2,929.79
Case:20-01947-jwb Doc #:327-1 Filed: 09/23/2020 Page 19 of 66

General Ledger Entry
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Total Deposits

   

Breanne Millstein

Innovo Development Group,- RO

General Ledger Entry
Enroll123, LLC

Jill Spruit

General Ledger Entry
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Interco CASH 07/22/2020
Paytronix E-Gift Card Payment 07/22/2020
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Blackhawk Payment 07/23/2020
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03/05/2020
PNC and US Bank Transfer 05/06/2020

05/13/2020

05/28/2020
AVIDPAY BARFLY VENTURES REF*CK*83 05/29/2020
HCRO ACCIDENT FUND ONLINE PAY 387° 06/04/2020
HCKC ACCIDENT FUND ONLINE PAY 387! 06/04/2020
GRBC ACCIDENT FUND ONLINE PAY 387! 06/04/2020
HCMN ACCIDENT FUND ONLINE PAY 387 06/04/2020
HCMD ACCIDENT FUND ONLINE PAY 387 06/04/2020
HCLV ACCIDENT FUND ONLINE PAY 387¢ 06/04/2020

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General Ledger Entry

General Ledger Entry

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General Ledger Entry

City of Grand Rapids Income Tax Dept
Kentucky Department of Revenue
Lexington-Fayette Divis on of Revenue
General Ledger Entry

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General Ledger Entry
Enrolli23, LLC

Oktober LLC

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Excel Pest Control - Lincoln
FedEx

GTT Commun cations

Pitney Bowes Global financial Serv ces
TIAA Commercial Finance, Inc.
TIAA Commercial Finance, Inc.
Arrowaste Inc.

Arrowaste Inc.

Arrowaste Inc.

City of Lincoln, NE

Coverall of Western M chigan
Great Lakes West

K-Data Systems LLC

Perrigo Printing

Sonitrol of Lexington, Inc.
Comcast

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Gordon Food Service

Gordon Food Service

General Ledger Entry

Gordon Food Service

My Green Michigan LLC

Swept Away

Gordon Food Service

HCMN ACCIDENT FUND ONLINE PAY 387 06/04/2020
HCKC ACCIDENT FUND ONLINE PAY 387! 06/04/2020
HCRO ACCIDENT FUND ONLINE PAY 387: 06/04/2020
HCLV ACCIDENT FUND ONLINE PAY 387¢ 06/04/2020
HCMD ACCIDENT FUND ONLINE PAY 387 06/04/2020
HCKZ ACCIDENT FUND ONLINE PAY 387! 06/05/2020

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HCEL ACCIDENT FUND ONLINE PAY 387¢ 06/10/2020
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Interco CASH

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Case:20-01947-jwb Doc #:327-1 Filed: 09/23/2020 Page 21 of 66

Gordon Food Service 07/21/2020 eft 2,924.64
Gordon Food Service 07/21/2020 eft 103.37
Gordon Food Service 07/21/2020 eft 5,991.82
Gordon Food Service 07/21/2020 eft 3,945.05
Gordon Food Service 07/21/2020 eft 4,845.32
Gordon Food Service 07/21/2020 eft 5,557.82
Valley C ty Linen 07/21/2020 eft 3,802.09
Gordon Food Service 07/21/2020 eft 3,732.03
Gordon Food Service 07/21/2020 eft 2,841.81
Gordon Food Service 07/21/2020 eft 3,639.42
Gordon Food Service 07/21/2020 eft 3,833.66
General Ledger Entry VISA PAYMENT 402884XXXXX7816 07/22/2020 eft 2,922.82
Enviro-Master of West Michigan 07/22/2020 eft 120.90
General Ledger Entry Interco CASH 07/22/2020 eft 140.00
General Ledger Entry Mercantile Site Checking Transfer 07/22/2020 eft 40,000.00
Arrowaste Inc. 07/22/2020 83627 1,272.54
Arrowaste Inc. 07/22/2020 83628 601.85
Arrowaste Inc. . 07/22/2020 83629 908.32
Arrowaste Inc. > 07/22/2020 83630 1,084.14
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Comcast 07/22/2020 83632 444.71
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Comcast 07/22/2020 83634 970.80
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Beer City Glass 07/22/2020 83639 2,015.00
Best Way Disposal 07/22/2020 83640 499.26
Coverall of Western M chigan 07/22/2020 83641 90.00
Cozzini Bros Inc 07/22/2020 83642 245.50
DIRECTV 07/22/2020 83643 467.32
FedEx 07/22/2020 83644 45.98
Great America Financial Services 07/22/2020 83645 428.88
HotSchedules.com, Inc 07/22/2020 83646 302.82
Kaat’s Water Condit oning, Inc. 07/22/2020 83647 9.50
Kalamazoo Mechanical Inc. 07/22/2020 83648 277.00
Pepsi - Madison 07/22/2020 83649 130.30
Sonitrol Great Lakes - Michigan 07/22/2020 83650 787.09
Tech Masters Inc. : 07/22/2020 83651 210.17
Terminix Processing Center 07/22/2020 83652 307.00
Uribe Refuse Serv ces 07/22/2020 83653 261.25
Washtenaw County Environmental Health 07/22/2020 83654 32.00
West Michigan Tag _ Label 07/22/2020 83655 1,166.17
Phoenix Construction Management & Services 07/22/2020 83656 3,681.50
Armock Mechanical BILLPMT 07/22/2020 7.24138E+13 » 743.02
Big Red Worms BILLPMT 07/22/2020 7.24138E+13 925.00
Anthony Carpenter BILLPMT 07/22/2020 7.24138E+13 800.00
Creative Ice BILLPMT 07/22/2020 7.24138E+13 765.00
Delta Dental BILLPMT 07/22/2020 7.24138E+13 3,364.81
Domant Property Services BILLPMT 07/22/2020 7,.24138E+13 837.89
Dover Grease Traps, Inc. BILLPMT , 07/22/2020 7.24138E+13 1,221.15
Driscon LLC BILLPMT 07/22/2020 7.24138E+13 2,054.48
Ice Town BILLPMT 07/22/2020 7.24138E+13 432.53

Ice Town BILLPMT 07/22/2020 7.24138E+13 514.10
Case:20-01947-jwb Doc #:327-1 Filed: 09/23/2020 Page 22 of 66

Ice Town
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Insite Business Solutions

My Green Michigan LLC
Nuco2
R. L. Schrieber

Rotella's Italian Bakery, Inc.

Swept Away

Timothy Gauthier
Town Center Inc.

Lee Shore Enterprises
Swanel Beverage Inc
Gordon Food Service
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General Ledger Entry
Handicap Sign, Inc.
United States Treasury
Gordon Food Service
Gordon Food Service
General Ledger Entry
General Ledger Entry
Gordon Food Service

Total Checks and Charges

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PNC, Chemical and US Bank Transfer

VISA PAYMENT 402884XXXXX7816
Barfly Ventures 1054 July Fees

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Case:20-01947-jwb Doc #:327-1 Filed: 09/23/2020 Page 23 of 66

   

 

Statement Ending Balance 71,834.15
Deposits in Transit 103.14
Outstanding Checks and Charges -68,412.23
Adjusted Bank Balance 3,525.06
Book Balance 3,525.06
Adjustments* 0.00
Adjusted Book Balance 3,525.06
Total Checks and Charges Cleared 584,014.31 Total Deposits Cleared 568,145.62

Deposits

 
        

General Ledger Entry 07/13/2020 eft 20,816.67
General Ledger Entry Interco CASH 07/13/2020 eft 19,847.18
General Ledger Entry Interco CASH 07/13/2020 eft 17,379.55
General Ledger Entry Interco CASH .- 07/13/2020 eft 15,703.25
General Ledger Entry Interco CASH 07/13/2020 eft 15,442.52
General Ledger Entry Interco CASH 07/13/2020 eft 14,576.49
General Ledger Entry Interco CASH 07/13/2020 eft 14,266.65
General Ledger Entry Interco CASH 07/13/2020 eft 13,423.12
General Ledger Entry Interco CASH 07/13/2020 eft 9,064.09
General Ledger Entry Interco CASH 07/13/2020 eft 8,573.11
General Ledger Entry Paytronix E-Gift Card Payment 07/13/2020 eft 250.00
General Ledger Entry Interco CASH . 07/13/2020 eft 14,743.56
General Ledger Entry Paytronix E-Gift Card Payment 07/14/2020 eft 25.00
General Ledger Entry Interco CASH 07/14/2020 eft 7,128.53
General Ledger Entry Interco CASH 07/14/2020 eft 5,382.46
General Ledger Entry Interco CASH 07/14/2020 eft 5,204.49
General Ledger Entry Interco CASH 07/14/2020 eft 4,821.47
General Ledger Entry Interco CASH 07/14/2020 eft 4,358.40
General Ledger Entry Interco CASH 07/14/2020 eft 4,180.98
General Ledger Entry Interco CASH 07/14/2020 eft 3,892.39
General Ledger Entry Interco CASH 07/14/2020 eft 3,521.27
General Ledger Entry Interco CASH 07/14/2020 eft 1,597.26
General Ledger Entry Interco CASH 07/14/2020 eft 1,180.59
General Ledger Entry Interco CASH 07/14/2020 eft 719.06
General Ledger Entry Interco CASH 07/14/2020 eft 37.32
Lloyd & McDaniel Garnishment 07/14/2020 15.00
Grubhub | . 07/14/2020 670.94
Flor da City Gas Gas Refund 07/14/2020 251.41
Grubhub Rm 07/14/2020 4,598.58
City of East Lansing Grant 07/14/2020 2,500.00
Grubhub FY 07/14/2020 4,016.19
General Ledger Entry Interco CASH 07/15/2020 eft 7,333.94
General Ledger Entry Interco CASH 07/15/2020 eft 5,097.73

General Ledger Entry Interco CASH 07/15/2020 eft 5,073.25
Case:20-01947-jwb Doc #:327-1 Filed: 09/23/2020 Page 24 of 66

General Ledger Entry Interco CASH 07/15/2020 eft 4,572.38

General Ledger Entry Interco CASH 07/15/2020 eft 4,288.34
General Ledger Entry Interco CASH 07/15/2020 eft 3,376.61
General Ledger Entry Interco CASH : 07/15/2020 eft 3,082.85
General Ledger Entry Interco CASH 07/15/2020 eft 3,058.46
General Ledger Entry Interco CASH 07/15/2020 eft 1,201.56
General Ledger Entry Interco CASH 07/15/2020 eft 659.07
General Ledger Entry Paytronix E-Gift Card Payment 07/16/2020 eft 30.00
General Ledger Entry Interco CASH 07/16/2020 eft 3,983.27
General Ledger Entry Interco CASH 07/16/2020 eft 3,869.97
General Ledger Entry Interco CASH 07/16/2020 eft 2,929.24
General Ledger Entry Interco CASH 07/16/2020 eft 2,900.43
General Ledger Entry Interco CASH 07/16/2020 eft 2,838.28
General Ledger Entry Interco CASH 07/16/2020 eft 2,558.80
General Ledger Entry Interco CASH 07/16/2020 eft 2,503.98
General Ledger Entry . Interco CASH 07/16/2020 eft 1,377.97
General Ledger Entry Interco CASH 07/16/2020 eft 301.37
General Ledger Entry Interco CASH 07/16/2020 eft 218.27
General Ledger Entry Blackhawk Payment 07/16/2020 eft 3,089.75
General Ledger Entry GORDON FOOD SERV AR PAYMENT 000: 07/17/2020 eft 13.80
General Ledger Entry GORDON FOOD SERV AR PAYMENT 000) 07/17/2020 eft 8.72
General Ledger Entry GORDON FOOD SERV AR PAYMENT 0001 07/17/2020 eft 11.04
General Ledger Entry GORDON FOOD SERV AR PAYMENT 000) 07/17/2020 eft 8.28
General Ledger Entry GORDON FOOD SERV AR PAYMENT 0001 07/17/2020 eft 16.56
General Ledger Entry GORDON FOOD SERV AR PAYMENT 0001 07/17/2020 eft 14.74
General Ledger Entry GORDON FOOD SERV AR PAYMENT 0001 07/17/2020 eft 24.84
General Ledger Entry PNC, Chemical and US Bank Transfer 07/17/2020 eft 241,858.91
General Ledger Entry Interco CASH 07/17/2020 eft 5,635.61
General Ledger Entry Interco CASH 07/17/2020 eft 4,501.35
General Ledger Entry Interco CASH 07/17/2020 eft 4,347.41
General Ledger Entry Interco CASH 07/17/2020 eft 3,997.33
General Ledger Entry Interco CASH , 07/17/2020 eft 3,829.30
General Ledger Entry Interco CASH 07/17/2020 eft 3,774.22
General Ledger Entry Interco CASH 07/17/2020 eft 3,180.05
General Ledger Entry Interco CASH 07/17/2020 eft 2,752.88
General Ledger Entry Interco CASH 07/17/2020 eft 2,733.09
General Ledger Entry Interco CASH 07/17/2020 eft 2,261.78
General Ledger Entry Interco CASH 07/17/2020 eft 184.75
General Ledger Entry Paytronix E-Gift Card Payment 07/17/2020 eft 10.00
General Ledger Entry GORDON FOOD SERV AR PAYMENT 0001 07/17/2020 eft 8.16
General Ledger Entry GFS RR ticot 07/17/2020 , 16.56
General Ledger Entry Crs ii GRBC 07/17/2020 5.72
Grubhub fF 07/17/2020 2,564.11
Grubhub P| 07/17/2020 2,161.66
Grubhub Grubhub 07/17/2020 1,111.09
State of Iinois IL Dept of Revenue 07/17/2020 138.10
Redi Rental Redi-Rental 07/17/2020 467.79
General Ledger Entry crs ii HCBL 07/17/2020 8.28
General Ledger Entry GFS BE Hcrn 07/17/2020 8.16
General Ledger Entry GS i HCAA 07/17/2020 24.84
General Ledger Entry GFS I CHL 07/17/2020 13.80
General Ledger Entry Crs i HCEL 07/17/2020 11.04
General Ledger Entry Crs i HCLN 07/17/2020 14.74
Total Deposits 568,145.62 103.14
Case:20-01947-jwb

 
 

Recovery Allies of West
Breanne Millstein

 

Innovo Development Group,- RO
General Ledger Entry

Enrolli23, LLC

Jill Spruit

General Ledger Entry

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City of Grand Rapids Income Tax Dept
Kentucky Department of Revenue
Lexington-Fayette Divis on of Revenue
General Ledger Entry

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Enrolli23, LLC

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Excel Pest Control - Lincoln
FedEx

Great America Financial Services
GTT Commun cations

John Grace

K-Data Systems LLC

Papa Refrigeration Service Co *
Pitney Bowes Global financial Serv ces
Rotella's Italian Bakery, Inc.
Star 2 Star Communications LLC
TalentReef

Checks and Charges

Doc #:327-1

PNC and US Bank Transfer

AVIDPAY BARFLY VENTURES REF*CK*8:
HCKC ACCIDENT FUND ONLINE PAY 387
GRBC ACCIDENT FUND ONLINE PAY 387
HCMN ACCIDENT FUND ONLINE PAY 38;
HCMD ACCIDENT FUND ONLINE PAY 38:
HCMN ACCIDENT FUND ONLINE PAY 38;
HCLV ACCIDENT FUND ONLINE PAY 387
HCRO ACCIDENT FUND ONLINE PAY 387
HCMD ACCIDENT FUND ONLINE PAY 38;
HCRO ACCIDENT FUND ONLINE PAY 387
HCKC ACCIDENT FUND ONLINE PAY 387
HCLV ACCIDENT FUND ONLINE PAY 387
HCKZ ACCIDENT FUND ONLINE PAY 387

HCBEL ACCIDENT FUND ONLINE PAY 38
HCKZ ACCIDENT FUND ONLINE PAY 387
HCEL ACCIDENT FUND ONLINE PAY 387
HCLN ACCIDENT FUND ONLINE PAY 387
HCLN ACCIDENT FUND ONLINE PAY 387
HCEL ACCIDENT FUND ONLINE PAY 387
HCAA ACCIDENT FUND ONLINE PAY 387

HCKC ACCIDENT FUND ONLINE PAY 387

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Case:20-01947-jwb Doc #:327-1 Filed: 09/23/2020 Page 26 of 66

TIAA Commercial Finance, Inc.
TIAA Commercial Finance, Inc.
TIAA Commercial Finance, Inc.

VSP Insurance Co.
General Ledger Entry
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Interco CASH

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Interco CASH

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Interco CASH

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Interco CASH

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Interco CASH

PNC, Chemical and US Bank Transfer
PNC, Chemical and US Bank Transfer
PNC, Chemical and US Bank Transfer

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Case:20-01947-jwo Doc #:327-1

City of Lincoln, NE

Coverall of Western M chigan
Great Lakes West

K-Data Systems LLC

Perrigo Printing

Sonitrol of Lexington, Inc.
Airgas National Carbonation -Bulk
Airgas USA LLC - Rental
Allegra

Andrew Woodruff

Armock Mechanical

Anthony Carpenter

Elliot Chaltry

Insite Business Solutions
My Green Michigan LLC

NRL Consulting

NuC02

Paladin Management Group LLC
Rotella's Italian Bakery, Inc.
Timothy Gauthier

Amy Unseld

Mark Sellers

Gordon Food Service
General Ledger Entry
General Ledger Entry
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General Ledger Entry
Enviro-Master of West Michigan
Gordon Food Service
Comcast

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Bryan Ponke

Troy Reimink

Domant Property Services
Total Checks and Charges

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Payroll 7-20-20

Payroll 7-20-20

Payroll 7-20-20

Interco CASH

Interco CASH

Barfly Ventures 1054 ADD FUNDS

BILLPMT
BILLPMT
BILLPMT

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26,954.94
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1,477.50
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160,434.62
76,736.07
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Case:20-01947-jwb Doc #:327-1 Filed: 09/23/2020 Page 28 of 66

     

87,702.84 _

 

         

Statement Ending Balance

Deposits in Transit , 0.00

Outstanding Checks and Charges -74,521.33

Adjusted Bank Balance "13,181.51

Book Balance 13,181.51

Adjustments* : : 0.00

Adjusted Book Balance "43,181.51
Total Checks and Charges Cleared 233,119.08 Total Deposits Cleared 215,772.21

_ Deposits
: ral Ledger Entr Interco CASH 07/06/2020 eft 7,660.

General Ledger Entry Interco CASH 07/06/2020 eft 7,887.37

General Ledger Entry Interco CASH 07/06/2020 eft 6,209.62

General Ledger Entry Interco CASH 07/06/2020 eft 4,651.52

General Ledger Entry Interco CASH 07/06/2020 eft 466.82

General Ledger Entry Interco CASH 07/06/2020 eft 12.00

General Ledger Entry Interco CASH 07/06/2020 eft 2.00

General Ledger Entry Interco CASH 07/06/2020 . eft 2.00

General Ledger Entry Interco CASH 07/06/2020 eft 14,055.40

General Ledger Entry Interco CASH 07/06/2020 eft 13,509.74

General Ledger Entry Interco CASH 07/06/2020 eft 9,698.78

General Ledger Entry Interco CASH 07/06/2020 eft 9,190.68

Genera! Ledger Entry Interco CASH 07/06/2020 eft 8,343.59

General Ledger Entry . Interco CASH 07/07/2020 eft 10,848.39

General Ledger Entry Interco CASH 07/07/2020 eft 6,190.15

General Ledger Entry : Interco CASH 07/07/2020 eft 5,459.83

General Ledger Entry Interco CASH 07/07/2020 eft 4,652.49

General Ledger Entry Interco CASH 07/07/2020 eft 3,529.21

General Ledger Entry Interco CASH 07/07/2020 eft 3,379.21

General Ledger Entry Interco CASH 07/07/2020 eft 3,079.54

General Ledger Entry Interco CASH 07/07/2020 eft 2,893.94

General Ledger Entry Interco CASH 07/07/2020 eft 2,075.18

General Ledger Entry Interco CASH 07/07/2020 eft 1,916.68

General Ledger Entry Interco CASH 07/07/2020 eft 1,428.28

General Ledger Entry Paytronix E-Gift Card Payment 07/08/2020 eft 40.00

General Ledger Entry Interco CASH 07/08/2020 eft 2,975.54

General Ledger Entry Interco CASH 07/08/2020 eft 2,617.73

General Ledger Entry Interco CASH 07/08/2020 eft 2,579.04

General Ledger Entry Interco CASH 07/08/2020 eft 2,241.90

General Ledger Entry Interco CASH 07/08/2020 eft 1,841.97

General Ledger Entry Interco CASH 07/08/2020 eft 1,731.97

General Ledger Entry Interco CASH 07/08/2020 eft 1,639.25

General Ledger Entry Interco CASH 07/08/2020 eft 1,279.15

General Ledger Entry Interca CASH 07/08/2020 eft 357.84
  

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General Ledger Entry
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Total Deposits

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Recovery Allies of West M chigan
Breanne Millstein

Innovo Development Group,- RO
General Ledger Entry

Enrolliz3, LLC

Jill Spruit

General Ledger Entry

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General Ledger Entry

City of Grand Rapids Income Tax Dept
Kentucky Department of Revenue
Lexington-Fayette Divis on of Revenue
General Ledger Entry

Checks and Charges

Interco CASH 07/08/2020 eft 17.50
Interco CASH 07/08/2020 eft 17.50
Interco CASH 07/08/2020 eft 3,336.39
Infinisource0706 PC June2Qg” = 07/09/2020 eft 1,492.36
Interco CASH 07/09/2020 eft 5,061.11
Interco CASH 07/09/2020 eft 5,016.82
Interco CASH 07/09/2020 eft 3,622.95
Interco CASH 07/09/2020 eft 2,777.89
Interco CASH 07/09/2020 eft 2,594.43
Interco.CASH 07/09/2020 eft 2,273.31
Interco CASH 07/09/2020 eft 2,258.37
Interco CASH 07/09/2020 eft 2,228.71
Interco CASH 07/09/2020 eft 1,591.83
Interco CASH 07/09/2020 eft 1,277.61
Paytronix E-Gift Card Payment 07/09/2020 eft 50.00
Blackhawk Payment 07/09/2020 eft 1,721.25
Interco CASH 07/10/2020 eft 3,802.26
Interco CASH 07/10/2020 eft 3,680.23
Interco CASH . 07/10/2020 eft 3,599.29
Interco CASH 07/10/2020 eft 3,493.71
Interco CASH 07/10/2020 eft 3,140.00
Interco CASH 07/10/2020 eft 2,741.28
Interco CASH 07/10/2020 eft 2,727.93
Interco CASH 07/10/2020 eft 2,039.03
Interco CASH 07/10/2020 eft 1,923.77
Interco CASH 07/10/2020 eft 3,783.56
Interco CASH 07/10/2020 eft 5,038.72
Grs AA 07/10/2020 16.84
“215,772.21. 0.00 —

    

 

09/ 81620 100.00
01/02/2020 82781 16.00
03/05/2020 83448 360.51
PNC and US Bank Transfer 05/06/2020 eft 28,500.00
05/13/2020 eft 18.00
05/28/2020 83530 165.00
AVIDPAY BARFLY VENTURES REF*CK*€ 05/29/2020 450.00
HCMN ACCIDENT FUND ONLINE PAY 3£€ 06/04/2020 eft 17.50
HCMN ACCIDENT FUND ONLINE PAY 3£ 06/04/2020 eft 57.95
GRBC ACCIDENT FUND ONLINE PAY 38 06/04/2020 eft 27.95
HCMD ACCIDENT FUND ONLINE PAY 3€ 06/04/2020 eft 27.95
HCRO ACCIDENT FUND ONLINE PAY 38 06/04/2020 eft 57.95
HCLV ACCIDENT FUND ONLINE PAY 38 06/04/2020 eft 22.95
HCKC ACCIDENT FUND ONLINE PAY 38 06/04/2020 eft $7.95
HCMD ACCIDENT FUND ONLINE PAY 3€ 06/04/2020 17.50
HCLV ACCIDENT FUND ONLINE PAY 38 06/04/2020 17.50
HCRO ACCIDENT FUND ONLINE PAY 38 06/04/2020 17.50
HCKC ACCIDENT FUND ONLINE PAY 38 06/04/2020 17.50
HCKZ ACCIDENT FUND ONLINE PAY 38 06/05/2020 eft $7.95
06/05/2020 83545 1,497.00
06/05/2020 83546 1,216.00
06/05/2020 83547 100.00
HCBEL ACCIDENT FUND ONLINE PAY 3: 06/05/2020 17.50
Case:20-01947-jwb Doc #:327-1 Filed: 09/23/2020

General Ledger Entry

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General Ledger Entry

City of Lincoln, NE

Valley C ty Linen

General Ledger Entry
Enrolli23, LLC

Oktober LLC

Valley C ty Linen

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Vailey C ty Linen

787 Networks

Bright House Networks

Circuit Electric Inc.

City of East Lansing

Comcast

Empire Disposal

FedEx

Ferris Coffee & Nut Company, Inc
Lincoln Nat onai Life Insurance Company
Mutual of Omaha

Plaza Storage, LLC

Ray’s Trash Service, Inc.

Star 2 Star Communications LLC
The Lock Up Storage Centers
TIAA Commercial Finance, Inc.
TIAA Commercial Finance, Inc.
TIAA Commercial Finance, Inc.
TIAA Commercial Finance, Inc.
Unemployment Services, Inc.
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General Ledger Entry

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Red Tap Solut ons

Gordon Food Service

Gordon Food Service

General Ledger Entry

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HCKZ ACCIDENT FUND ONLINE PAY 38
HCLN ACCIDENT FUND ONLINE PAY 38
HCEL ACCIDENT FUND ONLINE PAY 38
HCAA ACCIDENT FUND ONLINE PAY 38
HCLN ACCIDENT FUND ONLINE PAY 38
HCEL ACCIDENT FUND ONLINE PAY 38

HCKC ACCIDENT FUND ONLINE PAY 38

Worldpay Monthly Payment - BFCorp
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PNC, Chem cal and US Bank Transfer

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Gordon Food Service

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General Ledger Entry

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Great America Financial Services
GTT Commun cations

John Grace

K-Data Systems LLC

Papa Refrigeration Service Co
Pitney Bowes Global financial Serv ces
Roteila’s Italian Bakery, Inc.
Star 2 Star Communications LLC
TalentReef

TIAA Commercial Finance, Inc.
TIAA Commercial Finance, Inc.
TIAA Commercial Finance, Inc.
VSP Insurance Co.

Armock Mechanical

Anthony Carpenter

HOODZ North America

ID Watchdog, Inc.

Insite Business Solutions

Lee Shore Enterprises

Interco CASH

Interco CASH

VISA PAYMENT 402884XXXXX7816
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Case:20-01947-jwb

Leonard's Syrups
Nexonia Inc.

NuCcO2

QSR Automations Inc.
R. L. Schrieber

Red Tap Solut ons
Swept Away

Timothy Gauthier

Town Center Inc.
Gordon Food Service
Gordon Food Service
General Ledger Entry
General Ledger Entry
Boss Business Solutions
Total Checks and Charges

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07/10/2020

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74,521.33
Case:20-01947-jwb Doc #:327-1 Filed: 09/23/2020 Page 33 of 66

   

 

, Statement Ending Balance 105,049.71 -
Deposits in Transit 0.00
Outstanding Checks and Charges ~80,727.51
Adjusted Bank Balance 24,322.20
Book Balance . 24,322.20
Adjustments* 0.00
Adjusted Book Balance 24,322.20

Total Checks and Charges Cleared 769,967.95 Total Deposits Cleared 625,472.27
Deposits

     
    

    

  

S ES
ral Ledger Entry

 

Interco CASH 06/29/2020 17,521.24
General Ledger Entry Mercantile Site Checking Transfer 06/29/2020 eft 50,000.00
General Ledger Entry _ Paytronix E-Gift Card Payment 06/29/2020 eft 80.21
General Ledger Entry Interco CASH 06/29/2020 eft 234.00
General Ledger Entry Interco CASH 06/29/2020 eft 32,029.37
General Ledger Entry Interco CASH 06/29/2020 eft 25,775.48
General Ledger Entry Interco CASH 06/29/2020 eft 22,541.39
General Ledger Entry Interco CASH 06/29/2020 eft 19,352.94
General Ledger Entry Interco CASH 66/29/2020 eft 19,216.44
General Ledger Entry Interco CASH 06/29/2020 eft 16,972.76
General Ledger Entry Interco CASH 06/29/2020 eft 16,895.85
General Ledger Entry Interco CASH 06/29/2020 eft 14,780.86
General Ledger Entry Interco CASH 06/29/2020 eft 12,488.91
General Ledger Entry Interco CASH 06/29/2020 eft 9,774.40
General Ledger Entry Interco CASH 06/30/2020 eft 7,207.48
General Ledger Entry Interco CASH 06/30/2020 eft 5,681.98
General Ledger Entry Interco CASH 06/30/2020 eft 5,296.15
General Ledger Entry Interco CASH 06/30/2020 eft 5,075.19
General Ledger Entry Interco CASH 06/30/2020 eft 4,241.75
General Ledger Entry Interco CASH 06/30/2020 eft 3,634.77
General Ledger Entry : Interco CASH 06/30/2020 eft 3,514.08
General Ledger Entry Interco CASH 06/30/2020 eft 3,243.98
General Ledger Entry Interco CASH 06/30/2020 eft 2,115.06
General Ledger Entry Interco CASH . 06/30/2020 eft 1,764.57
General Ledger Entry Interco CASH 06/30/2020 eft 5,964.08
General Ledger Entry Interco CASH 07/01/2020 eft 4,675.60
General Ledger Entry Interco CASH 07/01/2020 eft 3,829.90
Genera! Ledger Entry Interco CASH 07/01/2020 eft 333.23
General Ledger Entry Interco CASH 07/01/2020 eft 447.89
General Ledger Entry Interco CASH 07/01/2020 eft 1,389.00
General Ledger Entry Interco CASH : 07/01/2020 eft 3,121.61
General Ledger Entry Interco CASH 07/01/2020 eft 3,138.67
General Ledger Entry Interco CASH 07/01/2020 eft 3,242.99

General Ledger Entry Interco CASH 07/01/2020 eft 3,296.51
Case:20-01947-jwb Doc #:327-1 Filed: 09/23/2020 Page 34 of 66

General Ledger Entry Interco CASH 07/01/2020 eft 3,397.22
General Ledger Entry Interco CASH 07/01/2020 eft 3,622.83
General Ledger Entry Blackhawk Payment 07/02/2020 eft 1,105.00
General Ledger Entry Interco CASH 07/02/2020 eft 4,585.19
General Ledger Entry Interco CASH 07/02/2020 eft 4,561.10
General Ledger Entry Interco CASH 07/02/2020 eft 4,235.87
General Ledger Entry Interco CASH 07/02/2020 eft 3,874.31
General Ledger Entry Interco CASH 07/02/2020 eft 3,400.48
General Ledger Entry ‘ Interco CASH 07/02/2020 eft 2,436.58
General Ledger Entry Interco CASH 07/02/2020 eft 2,235.46
General Ledger Entry Tnterco CASH 07/02/2020 eft 1,611.80
General Ledger Entry Interco CASH 07/02/2020 eft 596.85
General Ledger Entry Interco CASH 07/02/2020 eft 115.97
General Ledger Entry Paytronix E-Gift Card Payment 07/02/2020 eft 9.57
General Ledger Entry Paytronix E-Gift Card Payment 07/02/2020 eft 245.00
General Ledger Entry AMERICAN EXPRESS SETTLEMENT XXXX> 07/03/2020 eft 0.03
General Ledger Entry Interco CASH 07/03/2020 eft 6,175.46
General Ledger Entry Interco CASH 07/03/2020 eft 5,622.28
General Ledger Entry Interco CASH 07/03/2020 eft 3,881.77
General Ledger Entry Interco CASH 07/03/2020 eft 3,728.50
General Ledger Entry Interco CASH 07/03/2020 eft 3,717.72
General Ledger Entry Interco CASH 07/03/2020 . eft 3,385.76
General Ledger Entry Interco CASH 07/03/2020 eft 3,171.09
General Ledger Entry Interco CASH 07/03/2020 eft 3,068.59
General Ledger Entry Interco CASH 07/03/2020 , eft 2,073.64
General Ledger Entry Interco CASH 07/03/2020 eft 325.13
General Ledger Entry Interco CASH 07/03/2020 eft 205.73
General Ledger Entry PNC, Chemical and US Bank Transfer 07/03/2020 eft 225,000.00
General Ledger Entry Paytronix E-Gift Card Payment 07/03/2020 eft 145.00
Total Deposits "625,472.27... ~~~ 0.00

   
   

Checks and Charges

 

Recovery Allies of West M chigan

09/25/2019

Breanne Millstein 01/02/2020 82781

Innevo Development Group,- RO 03/05/2020 83448

General Ledger Entry PNC and US Bank Transfer 05/06/2020 eft 28,500.00
Enrolli23, LLC 05/13/2020 eft 18.00
Jill Spruit 05/28/2020 83530 165.00
Phoebe Duvall 05/28/2020 83541 2,000.00

General Ledger Entry AVIDPAY BARFLY VENTURES REF*CK*83: 05/29/2020 450.00-
General Ledger Entry HCMN ACCIDENT FUND ONLINE PAY 387' 06/04/2020 eft 57.95
General Ledger Entry HCMD ACCIDENT FUND ONLINE PAY 387° 06/04/2020 eft _ 27.95
General Ledger Entry HCMN ACCIDENT FUND ONLINE PAY 387: 06/04/2020 eft 17.50
General Ledger Entry HCKC ACCIDENT FUND ONLINE PAY 387¢ 06/04/2020 eft 57.95
General Ledger Entry HCLV ACCIDENT FUND ONLINE PAY 3876 06/04/2020 eft 22.95
General Ledger Entry HCRO ACCIDENT FUND ONLINE PAY 387 06/04/2020 eft 57.95
General Ledger Entry , GRBC ACCIDENT FUND ONLINE PAY 387¢ 06/04/2020 eft 27.95
General Ledger Entry HCMD ACCIDENT FUND ONLINE PAY 387: 06/04/2020 17.50
General Ledger Entry HCLV ACCIDENT FUND ONLINE PAY 3876 06/04/2020 17.50
General Ledger Entry HCRO ACCIDENT FUND ONLINE PAY 387! 06/04/2020 17.50
General Ledger Entry HCKC ACCIDENT FUND ONLINE PAY 387¢ 06/04/2020 / 17.50
General Ledger Entry HCKZ ACCIDENT FUND ONLINE PAY 387¢ 06/05/2020 eft 57.95
City of Grand Rapids Income Tax Dept 06/05/2020 83545 1,497.00

Kentucky Department of Revenue 06/05/2020 83546 1,216.00
Case:20-01947-jwb Doc #:327-1 Filed: 09/23/2020

Lexington-Fayette Divis on of Revenue
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City of Lincoln, NE
Lincotn-Lancaster County Health Department
Detroit Health Dept

Ingham County Health Department
Washtenaw County Environmental Health
Valley C ty Linen

General Ledger Entry
Enrolli23, LLC

FedEx

Oktober LLC

OutMatch, Inc.

Restaurant Technologies, Inc
NCR Corporation

NCR Corporation

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NCR Corporation

TIAA Commercial Finance, Inc.
National Storage Centers
Gordon Food Service
General Ledger Entry
Gordon Food Service

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Gordon Food Service
General Ledger Entry

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HCKZ ACCIDENT FUND ONLINE PAY 387¢
HCBEL ACCIDENT FUND ONLINE PAY 387
HCEL ACCIDENT FUND ONLINE PAY 3878
HCLN ACCIDENT FUND ONLINE PAY 387¢
HCEL ACCIDENT FUND ONLINE PAY 3875
HCLN ACCIDENT FUND ONLINE PAY 387¢
HCAA ACCIDENT FUND ONLINE PAY 387¢

HCKC ACCIDENT FUND ONLINE PAY 387¢

PNC, Chemical and US Bank Transfer

Mercantile Site Checking Transfer

BILLPMT

VISA PAYMENT 402884XXXXX7816

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Case:20-01947-jwb

Doc #:327-1 Filed: 09/23/2020

Bright House Networks 07/01/2020
Circuit Electric Inc. 07/01/2020
City of East Lansing 07/01/2020
Comcast 07/01/2020
Empire Disposal 07/01/2020
FedEx 07/01/2020
Ferris Coffee & Nut Company, Inc 07/01/2020
Lincoin Nat onal Life Insurance Company 07/01/2020
Mutual of Omaha 07/01/2020
Plaza Storage, LLC 07/01/2020
Ray's Trash Service, Inc. 07/01/2020
Star 2 Star Communications LLC 07/01/2020
TDS 07/01/2020
The Lock Up Storage Centers 07/01/2020
TIAA Commercial Finance, Inc. 07/01/2020
TIAA Commercial Finance, Inc. 07/01/2020
TIAA Commercial Finance, Inc. 07/01/2020
TIAA Commercial Finance, Inc. 07/01/2020
Unemployment Services, Inc. 07/01/2020
TDS 07/01/2020
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Leonard's Syrups BILLPMT 07/01/2020
Armock Mechanical BILLPMT 07/01/2020
Creative Ice BILLPMT 07/01/2020
Domant Property Services BILLPMT 07/01/2020
Hypercore Networks Inc. BILLPMT 07/01/2020
My Green Michigan LLC BILLPMT 07/01/2020
Professional Maintenance of Michigan, Inc. BILLPMT 07/01/2020
Red Tap Solut ons BILLPMT 07/01/2020
Swept Away BILLPMT 07/01/2020
Timothy Gauthier BILLPMT 07/01/2020
Anthony Carpenter BILLPMT 07/01/2020
Town Center Inc. BILLPMT 07/01/2020
General Ledger Entry Interco CASH 07/02/2020
ASR Health Benefits 07/02/2020
ASR Health Benefits 07/02/2020
Gordon Food Service 07/02/2020
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Enviro-Master of West Michigan 07/03/2020
General Ledger Entry Payroll 7-6-20 07/03/2020
General Ledger Entry Payroll 7-6-20 07/03/2020
General Ledger Entry Payroll 7-6-20 07/03/2020

Gordon Food Service

07/03/2020

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Case:20-01947-jwb Doc #:327-1 Filed: 09/23/2020 Page 37 of 66

Gordon Food Service 07/03/2020 eft 42.53

Gordon Food Service 07/03/2020 eft 155.67
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Total Checks and Charges 769,967.95 80,727.51
MGMCSTMTN 200801-09730-0001

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$610 Byron Conter Ave. SW
‘Wyoming, Mi 49519

 

Return Service Requested Page: 1 of 4
Pe Statement Date: 07/31/2020
Mercantile Le 07001 Primary Account: XXXXXX4123
* Documents: 0

Period: 06/30/20 to 07/31/20

E
9 VOLT LLC <T> 30-0
DBA HOPCAT 0

OPERATING 0
35 OAKES ST SW STE 400 .
GRAND RAPIDS, MI 49503

COMMERCIAL ANALYSIS CHECKING ACCOUNT Account: XXXXXX4123

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06/30/20 . 07/31/20 . 133,976.52 (128) 133,976.52 (57)

 

  

 

Date Description Amount
07/01 American Express Settlement XXXXXX6973 96.12
07/01 Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term i 548.51

07/01 Doordash, Inc. 25 Ionia A St-J5q5l2f3f0p3 721.28
07/01 Comb. Dep. Worldpay Worldpay Comb. Dep. Tern i 3,772.46
07/02 American Express Settlement XXXXXX6973 160.39
07/02 Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term iii 435.59
07/02 Doordash, Inc. 25 lonia A St-Z7s0r8p9a4n4 1,611.66
07/02 Comb. Dep. Worldpay Worldpay Comb. Dep. Tern i 3,339.12
07/03 American Express Settlement XXXXXX6973 71.39
07/03 Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term i 672.84
07/03 Doordash, Inc. 25 lonia A St-Q6e4s8m0k4e4 1,517.80
07/03 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 3,360.25

07/06 Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term 6.36
07/06 American Express Settlement XXXXXX6973 133.28
07/06 Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term 392.31

07/06 Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term 475.14
07/06 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 615.18
07/06 Doordash, Inc. 25 lonia A St-D5z3p4m5z0w2 683.48
07/07 Comb. Dep. Worldpay Worldpay Comb. Dep. Tern ii 129.81

07/07 Postmates Inc. 1010 Jun 2 St-G5w6o1 y9q0l3 368.55
07/07 Doordash, Inc. 25 lonia A St-H8p6f0b2e7c7 2,017.77
07/08 American Express Settlement XXXXXX6973 88.39
07/08 Postmates inc. 1010 Jul 6 St-DOa5n4foriho 94.89
07/08 Doordash, Inc. 25 Ionia A St-B5n219x6q2z5 138.39
07/08 Comb. Dep. Worldpay Worldpay Comb. Dep. Term i’ 227.65
07/08 Transfer From Coml Analysis Ck Account 4777 787.19
07/09 American Express Settlement XXXXXX6973 57.28
07/09 Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term 228.34
07/09 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 2,469.53
07/10 Postmates Inc. 1010 Jul 8 St-H4z9d7s2b0x9 11.61

07/10 American Express Settlement XXXXXX6973 187.76.

07/10 Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term 201.58
07/10 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 2,326.98
MGNMOSTMTN 20080 1-09730-0002

 

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S VOLT LEC

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35 OAKES ST SW STE 400
a * GRAND RAP DS, MI 49503
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Description

Posimates Inc. 1016 Jul 9 St-Y4g4u0mSthx9

Postmates Inc. 1010 Jul 1 StL 7momid2y1h9

Postmates Inc. 1010 Jul 1 StL-U7b7h4u727c8

American Express Settlement XXXXXX6973

Comb, Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term

Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term

American Express Settlement XXXXXX6973_

Doordash, Inc. 25 lonia A St-MOISjGq0g8q2

Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term
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American Express Settlement XXXXXX6973
Camb. Dep. Worldpay Worldpay Comb. Dep. Term

Comb. Dep. 6/3 Bankcard Sys Worldpay Comb. Dep. Term

Doordash, inc. 25 ionia A St-J6hib2dSebl2

American Express Settlement XXxxXxXx6973

Posimates Inc. 1010 Jul 1 St4id2u2m1iap4

Postmates Inc. 1010 Jul 1 St-BOhIn2y8vin7

Comb. Dep. 5/3 Bankeard Sys Worldpay Comb. Dep. Tem iii
Doordash, Inc. 25 lonia A St-R1q0mOv0z8u7

Comb. Dep. Worldpay Worldpay Comb. Dep. Tern ii
Posimates Inc. 1010 Jul 1 St-418]024e4h8n5

American Express Settlement XXXXXX6973

Camb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term
Doordash, Inc. 25 lonia A St-Y0i4t9l4b5e5

Comb. Dep. Worldpay Worldpay Comb. Dep. Tern
Postmates Inc. 1010 Jul 1 St-USs0u2dér7e4

American Express Settlement XXXXXX6973

Comb, Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Ter
Doordash, Inc. 25 lonia A St-U?vambc2v6i0

Comb. Dep. Worldpay Worldpay Comb. Dep. Term
Posimates Inc. 1070 Jul 7 St-R3m7p4x2vod7

Postmates Inc. 1010 Jul 1 5-Otfkéz4gad4

Postmates Inc. 1010 Jul 1 St-USv9n9qad4m7

American Express Settlement XXXXXX6973

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Doordash, Inc. 25 lonia A St-B7aGi7kas7w4

American Express Settlement XXXXXX6973

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American Express Settlement XXXXXx6972
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Doordash, Inc. 25 lonia A St-J407k5v9x4w6 P

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Asnerican Express Settlament XXXXXX6973

Postmates inc. 1010 Jul 1 St-eOSw0adeda7c7

Posimates inc. 1010 Jul 2 St-P2v109x8q2h7

Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Tern i
Doordash, inc. 26 lonia A St-E6a8t7gsd9ne

Comb. Dep. Worldpay Worldpay Comb. Dep. Term
Postmates inc. 1010 Jul 2 StLNGPBx0yGo0I5

American Express Settlement XXXXXX6973

Comb. Dep. 5/3. Bankcard Sys Worldpay Comb. Dep. Term
Doordash, Inc. 25 lonia A St-L2c8n8q9k2i1

Comb. Dep. Worldpay Worldpay Comb. Dep. Tern

  
  

Page: 2o0f4
Statement Date: 07/34/2020
Primary Account: XXXXXX4123

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3,679.91

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MGMCSTMTN 200801 -09730-0003

 

  

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9 VOLT LLC

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35 OAKES ST SW STE 400
GRAND RAP DS, MI 49503

Description
Postmaies Inc. 1010 Jul 2 St-A7g4z2r408p1

American Express Settlement XXXXXX6973

Comb. Dep. 5/3 Bankcard Sys Worldpay Gomb. Dep. Term i
Doordash, Inc. 25 lonia A St-R2x4d0s6q311

Comb. Dep. Worldpay Worldpay Comb. Dep. Tern iii
Postmates Inc. 1010 Jul 2 St-Z3cOw9u5u6m1

Postmates Inc. 1010 Jul 2 St-L3n2k4r3r5m2

Posimates Inc. 1010 Jul 2 St-Y9y8r1a7vOj1

Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Tern
American Express Settlement XXXXXX6973

Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term

Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term

Doordash, Inc. 25 lonia A St-V8e8t905z5b2

American Express Settlement XXXXXX6973

Comb. Dep. Worldpay Worldpay Comb. Dep. Term
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American Express Settlement XXXXXX6973

Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Tern i
Doordash, Inc. 25 lonia A St-N9z9h0m1i5q5 :

Postmates Inc. 1010 Jul 2 St-E7k402c8v0a0

Postmates Inc. 1010 Jul 2 St-E4x6d7i7h7g9

Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Tern
Doordash, Inc. 25 lonia A St-O7e8a0d8x9c8

Comb. Dep. Worldpay Worldpay Comb. Dep. Term

Comb. Dep. Worldpay Woridpay Comb. Dep. Term

Postmates Inc. 1010 Jul 2 St-U4f0j2v4a9k6

Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Tern ii
American Express Settlement XXXXXX6973

Doordash, Inc. 25 lonia A St-29d712f4c5r2

Comb. Dep. Worldpay Woridpay Comb. Dep. Tern
Postmates Inc. 1010 Jul 2 St-Wou3m4 y4t3t2

American Express Settlement XXXXXX6973

Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Tern i
Doordash, Inc. 25 lonia A St-N6w6k9j2d3k9

Comb. Dep. Worldpay Worldpay Comb. Dep. Term

  

Check No Amount Date Check No Amount
12728 5,645.07 |

* Indicates a Gap in Check Number Sequence

Description
State Of Michnws Liquorsale #xoxxxx3335

Transfer To Coml Analysis Ck Account 4 777
West Side Beer D Fintecheft XX-XXX1129

Henry A. Fox Sal Fintecheft XX-XXX1129

M4 C.i.c, Lic Fintecheft XX-XXX1129

Alliance Beverag Fintecheft XX-XXX1129

Transfer To Coml Analysis Ck Account A777
Transfer To Com! Analysis Ck pccount ii &777
American Express Settlement XXXXXX6973
Transfer To Comi Analysis Ck Account [4777
Restaurant Techn Cash Conc

Mthchgs Worldpay Merch Bankcard Hopcat

Date

 

Page:
Statement Date:

3 of 4
07/31/2020

Primary Account: XXXXXX4123

Check No

 
   

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222.31
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2,544.74
22.79
60.68
75.74
170.90
215.91
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15.65
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781.63
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1,154.95
3,696.86

 
 
 

Amount

 

Amount
462.77
4,675.60
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235.00
1,190.45
3,874.31
5,622.28
3.97
466.82
601.94
1,233.02
MGMCSTMTN 200861-09730.004

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QVOLTLIC Page: 4of 4
peearena! Statement Date: 07/31/2020
35 OAKES ST SW STE 400 ‘Primary Account’ XXXXXX4123
: GRAND RAP DS, Mi 49503
Mercantile
Bank of Michigan:

 

Date Description — Amount

    
 

07/07 State Of Michgwi Liquorsale #xxxxx6072 275.02
07/07 Biliing Vantiv_intg_pymt Merch cccont Grand Rapids - Ecornm 324.43
07/07 Transfer To Comi Analysis Ck Account 7 ‘ 1,916.68
07/08 State Of Michnws Liquorsale #xxxxx25 269.56
07/08 imperial Beverag Fintacheft XX-XXX1129 1,066.95
07/09 Fintech.net Fintecheft XX-XXX1129 37.32
07/09 imperial Beverag Fintecheft XX-XXX1129 480.00
07/09 Ole - Help@oio.c Purchase Denise Willison 230.00
07/09 Alliance Beverag Fintechett XX-XXX1129 716.00
07/03 Transfer To Com! Analysis Ck Account 4777 1,891.83
O7/10 Transfer To Comi Analysis Ck Account AT77 2,727.93
07/13 Transfer To Com! Analysis Ck Account 4T77 , 13,423.12
07/44 Transfer To Com! Analysis Ck Account ATT7 4,180.98
07/15 Commercial Service Charge 82.44
O75 Transfer To Com! Analysis Ck Account 4777 3,376,814
07/16 lmperial Beverag Fintecheft XX-XxX11 271.20
07/15 Allance Beverag Fintecheft XX-XxXX1129 $06.00
07/16 Transfer To Com! Analysis Ck Account [4777 2,929.24
07/17 Red Tap Draught Sale 450.00
O7/17 Transfer To Coml Analysis Ck Account 4777 4,501.35
07/20 Support Positive Solutio 11142-1214 . 333.72
07/20 Transfer To Comi Analysis Ck Account 4777 15,848.56
07/21 Alllance Beverag Fintecheft XX-XXX11 283.00
07/21 Red Tap Draught Sale 456.00
7/21 Transfer To Coml Analysis Ck Account E4777 4,608.85
67/22 imperial Beverag Fintecheft XX-XXX1129 255.80
07/22 Transfer To Comi Analysis Ck Account ATT] 4,171.36
07/23 West Side Beer D Fintecheft XX-XXX1 109.00
07/23 Alliance Beverag Fintecheft XX-xXXX1129 | 621.30
07/23 Transfer To Comi Analysis Ck Account 4777 4,558.32
07/24 Transfer To Com! Analysis Ck Account A777 4,780.85
07/27 Transfer To Comi Analysis Ck Account 4777 13,787.43
07/28 Henry A. Fox Sal Fintecheft XX-XXxX1129 62.70
67/28 West Side Beer D Fintecheft XX-XXX1129 198.00
07/28 Transfer To Com! Analysis Ck Account BB 4777 2,932.54
07/29 State Of Michnws Liquorsale #oonn8416 182.17
07/29 Waypost Brewing Fintecheft XX-XxXxX1129 252.00
07/29 Transfer To Com! Analysis Ck Account 4777 7,353.97
07/30 M4 C.Le, Lic Fintecheff XX-XXX1129 120.00
07/30 Alliance Beverag Fintecheft XX-XXX1129 494.00
07/30 West Side Bear D Fintecheft XX-XXX1129 239,00
07/30 Transfer To Com! Analysis Ck Account 4777 4,118.55
07/31 Imperial Beverag Fintecheft XX-XxXX1129 476.80
07/31 Transfer To Comi Analysis Ck Account [4777 4,787.94

 

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O7/09 : 07/21 07/31
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Case:20-01947-jwb Doc #:327-1 - Filed: 09/23/2020 Page 42 of 66

   

   

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Statement Ending Balance
Deposits in Transit 20,749.67
Outstanding Checks and Charges 0.00
Adjusted Bank Balance : 20,749.67
Book Balance 20,749.67
Adjustments* 0.00
Adjusted Book Balance 20,749.67
Total Checks and Charges Cleared 157,186.24 Total Deposits Cleared 157,186.24
Deposits

 
   

 

 

General Ledger Entry AMEX

06/25/2020 54,58
General Ledger Entry WORLD PAY - OLO AMEX 06/25/2020 28.38
General Ledger Entry WORLD PAY - OLO TENDER 06/25/2020 464.22
General Ledger Entry WORLDPAY 06/26/2020 3,347.87
General Ledger Entry WORLD PAY - OLO TENDER 06/26/2020 714.58
General Ledger Entry WORLD PAY - OLO AMEX 06/26/2020 15.90
General Ledger Entry AMEX 06/27/2020 199.68
General Ledger Entry WORLDPAY 06/27/2020 6,472.17
General Ledger Entry WORLD PAY - OLO TENDER 06/27/2020 505.63
General Ledger Entry WORLD PAY - OLO AMEX 06/27/2020 96.46
General Ledger Entry WORLDPAY 06/28/2020 4,412.23
General Ledger Entry AMEX 06/28/2020 . 114.87
General Ledger Entry WORLD PAY - OLO TENDER 06/28/2020 548.51
General Ledger Entry AMEX 06/29/2020 99.45
General Ledger Entry WORLDPAY 06/29/2020 3,074.10
General Ledger Entry WORLD PAY - OLO TENDER 06/29/2020 435.59
General Ledger Entry Unknown AMEX Variance HCGR 06/30/2020 eft 14.98
General Ledger Entry WORLD PAY - OLO TENDER 06/30/2020 672.84
General Ledger Entry DoorDash Sales 6.29.20 HCGR 06/30/2020 535.21
General Ledger Entry Postmates Sales 6.30.20 HCGR 06/30/2020 616.07
General Ledger Entry DoorDash Sales 6.30.20 HCGR 06/30/2020 1,899.68
General Ledger Entry WORLDPAY 06/30/2020 3,772.46

General Ledger Entry AMEX 06/30/2020 166.16
Case:20-01947-jwb Doc #:327-1 Filed: 09/23/2020 Page 43 of 66

General Ledger Entry
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AMEX

WORLD PAY - OLO AMEX
WORLDPAY

DoorDash Sales 7.01.20 HCGR
WORLD PAY - OLO TENDER
WORLDPAY

DoorDash Sales 7.02.20 HCGR
WORLD PAY - OLO TENDER
AMEX

WORLDPAY

WORLD PAY - OLO TENDER
DoorDash Sales 7.03.20 HCGR
Unknown AMEX Variance HCGR
WORLD PAY - OLO TENDER
WORLDPAY

DoorDash Sales 7.06.20 HCGR
AMEX

WORLD PAY - OLO AMEX
Unknown AMEX Variance HCGR
AMEX

WORLD PAY - OLO TENDER
WORLDPAY

DoorDash Sales 7.07.20 HCGR
Postmates Sales 7.07.20 HCGR

Interco CASH

WORLDPAY

WORLD PAY - OLO TENDER
AMEX

Postmates Sales 7.08.20 HCGR
DoorDash Sales 7.08.20 HCGR
WORLD PAY - OLO TENDER
AMEX

WORLDPAY

Unknown AMEX Variance HCGR
Unknown AMEX Variance HCGR
Postmates Sales 7.10.20 HCGR
AMEX

WORLD PAY - OLO AMEX
WORLD PAY - GLO TENDER
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AMEX

WORLD PAY - OLO TENDER
WORLDPAY

AMEX

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3,339.12

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1,517.80

eft 0.72
228.34

129.81

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65.19

eft 11,30
59.29

201.58

227.65

2,017.77

368.55

eft 787.19
2,469.53

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180,97

2,326.98

eft 6,79
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Case:20-01947-jwb Doc #:327-1 Filed: 09/23/2020 Page 44 of 66

General Ledger Entry
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WORLD PAY - OLO TENDER
Unknown AMEX Variance HCGR
WORLD PAY - OLO TENDER
AMEX

Postmates Sales 7.13.20 HCGR
Postmates Sales 7.13.20 HCGR
Postmates Sales 7.13.20 HCGR
WORLDPAY

DoorDash Sales 7.13.20 HCGR
WORLD PAY - OLO TENDER
AMEX

WORLDPAY

DoorDash Sales 7.14.20 HCGR
Unknown AMEX Variance HCGR
AMEX

WORLD PAY - OLO TENDER
WORLDPAY

Postmates Sales 7.15.20 HCGR
DoorDash Sales 7.15.20 HCGR
Postmates Sales 7.15.20 HCGR
Unknown AMEX Variance HCGR
Unknown AMEX Variance HCGR
Postmates Sales 7.16.20 HCGR
DoorDash Sales 7.16.20 HCGR
WORLDPAY

AMEX

WORLD PAY - OLO TENDER
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AMEX

WORLD PAY - OLO AMEX
WORLD PAY - OLO TENDER
WORLDPAY

DoorDash Sales 7.17.20 HCGR
Postmates Sales 7.17.20 HCGR
WORLDPAY

WORLD PAY - OLO TENDER
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WORLD PAY - OLO TENDER
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WORLD PAY - OLO TENDER

WORLDPAY

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3,101.55

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4,636.16
601.97
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General Ledger Entry
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Postmates Sales 7,20,20 HCGR
Postmates Sales 7.20.20 HCGR
Postmates Sales 7.20.20 HCGR
DoorDash Sales 7.20.20 HCGR
AMEX

DoorDash Sales 7.21.20 HCGR
WORLDPAY

WORLD PAY - OLO TENDER
AMEX

DoorDash Sales 7.22.20 HCGR
Postmates Sales 7.22.20 HCGR
WORLDPAY

WORLD PAY - OLO AMEX
WORLD PAY - OLO TENDER
Postmates Sales 7.22.20 HCGR
Unknown AMEX Variance HCGR
DoorDash Sales 7.23.20 HCGR
Postmates Sales 7.23.20 HCGR
WORLDPAY

WORLD PAY - OLO TENDER
AMEX

WORLD PAY - OLO AMEX
DoorDash Sales 7.24.20 HCGR
AMEX

Postmates Sales 7.24.20 HCGR
WORLDPAY

WORLD PAY - OLO TENDER
Unknown AMEX Variance HCGR
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WORLD PAY - OLO TENDER
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WORLD PAY - OLO TENDER
WORLD PAY - OLO AMEX
Postmates Sales 7.27.20 HCGR
Postmates Sales 7.27.20 HCGR
WORLDPAY

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Postmates Sales 7.27.20 HCGR
DoorDash Sales 7.27.20 HCGR
WORLD PAY - OLO TENDER

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Page 45 of 66

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610.19
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2,607.20
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1,068.04
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1,640.46
361.49
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Case:20-01947-jwb Doc #:327-1 Filed: 09/23/2020 Page 46 of 66

General Ledger Entry
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Total Deposits

 

General Ledger Entry
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State of Michigan - MLCC

General Ledger Entry

General Ledger Entry

Checks and Charges

WORLD PAY - OLO TENDER
AMEX

DoorDash Sales 7.28.20 HCGR
Unknown AMEX Variance HCGR
WORLD PAY - OLO TENDER
AMEX

Postmates Sales 7.29.20 HCGR
Postmates Sales 7.29.20 HCGR
DoorDash Sales 7.29.20 HCGR
WORLDPAY

WORLDPAY

DoorDash Sales HCGR 7.30.20
Postmates Sales HCGR 7.30.20
WORLD PAY - OLO AMEX
WORLD PAY - OLO TENDER
AMEX

Postmates Sales HCGR 7.31.20
WORLDPAY ,
DoorDash Sales HCGR 7.31.20
AMEX

WORLD PAY - OLO TENDER
WORLD PAY - OLO TENDER
AMEX

WORLDPAY

WORLD PAY - OLO AMEX
WORLDPAY

WORLD PAY ~ OLO TENDER

AMEX

Interco CASH

Unknown WORLDPAY Variance HCGR

Unknown AMEX Variance HCGR
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Interco CASH

Interco CASH

Alliance Beverage Distributing LLC

Henry A. Fox Sales Co.

 
 

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3,286.37
3,696.86
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1,154.95

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157,186.24

eft 16,895.85

eft 21.40
EFT 242.86
eft 4.24

eft 5,964.08

eft 24.16
eft 0.64
EFT 462.77

eft 4,675.60
eft 3,874.31
EFT 1,190.45

EFT 158.00

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M4 C.I.C. LLC 07/02/2020 EFT 235.00
West Side Beer Distributing , 07/02/2020 EFT 89.00
General Ledger Entry Unknown AMEX Variance HCGR 07/02/2020 eft 0,34
General Ledger Entry Unknown AMEX Variance HCGR 07/02/2020 eft 0.47
General Ledger Entry Unknown AMEX Variance HCGR 07/02/2020 . eft 1.15
General Ledger Entry , Interco CASH 07/03/2020 eft 5,622.28
General Ledger Entry Unknown AMEX Variance HCGR 07/04/2020 eft 0.21
General Ledger Entry Unknown AMEX Variance HCGR 07/04/2020 eft 4.63
General Ledger Entry Interco CASH 07/06/2020 eft 466.82
Restaurant Technologies, Inc 07/06/2020 eft 601.94
State of Michigan - MLCC 07/07/2020 EFT 275,02
General Ledger Entry Interco CASH 07/07/2020 eft 1,916.68
General Ledger Entry Vantiv Monthly Charges - P7 2020 07/07/2020 eft 324.43
General Ledger Entry WorldPay Monthly Charges - P7 2020 07/07/2020 eft 1,233.02
Imperial Beverage 07/08/2020 EFT 1,066.95
State of Michigan - MLCC 07/08/2020 EFT 269.56
fintech 07/09/2020 eft 37.32
OLo 07/09/2020 eft 230.00
Imperial Beverage . 07/09/2020 EFT 180.00
Alliance Beverage Distributing LLC - 07/09/2020 EFT 716.00
General Ledger Entry Unknown AMEX Variance HCGR 07/09/2020 eft 3.97
General Ledger Entry Interco CASH 07/09/2020 eft 1,591.83
General Ledger Entry Interco CASH . 07/10/2020 eft 2,727.93
General Ledger Entry Interco CASH : 07/13/2020 eft 13,423.12
General Ledger Entry Unknown AMEX Variance HCGR 07/14/2020 eft 4.96
General Ledger Entry Interco CASH 07/14/2020 eft 4,180.98
General Ledger Entry Mercantile Monthly Bank Charges - P7 2020 07/15/2020 eft 82.44
General Ledger Entry Interco CASH 07/15/2020 eft 3,376.61
Alliance Beverage Distributing LLC 07/16/2020 EFT 508.00
Imperial Beverage 07/16/2020 EFT 271.20
General Ledger Entry Interco CASH 07/16/2020 eft 2,929.24
Michigan Dept of Treasury 07/16/2020 12728 5,645.07
Red Tap Solutions 07/17/2020 eft 450.00
General Ledger Entry Unknown AMEX Variance HCGR 07/17/2020 eft 12.05
General Ledger Entry Interco CASH 07/17/2020 eft 4,501.35
General Ledger Entry Interco CASH 07/20/2020 eft 15,848.56
General Ledger Entry Unknown AMEX Variance HCGR 07/20/2020 eft 2.42
Alliance Beverage Distributing LLC 07/21/2020 EFT 283.00
Red Tap Solutions : 07/21/2020 EFT 450.00
General Ledger Entry Interco CASH 07/21/2020 eft 4,608.85
General Ledger Entry Positive Solutions Support - Monthly Transact on P 07/21/2020 eft 333.72
General Ledger Entry Unknown AMEX Variance HCGR 07/21/2020 eft 8.09
Imperial Beverage 07/22/2020 EFT 255.80

General Ledger Entry Interco CASH 07/22/2020 eft 4,171.36
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Alliance Beverage Distributing LLC 07/23/2020 EFT 621.30
West Side Beer Distributing 07/23/2020 EFT 109.00
General Ledger Entry ' Interco CASH 07/23/2020 eft 4,555.32
General Ledger Entry Interco CASH 07/24/2020 eft 4,750.85
General Ledger Entry Unknown AMEX Variance HCGR 07/27/2020 eft 3.26
General Ledger Entry Interco CASH 07/27/2020 eft 13,757.43
General Ledger Entry Interco CASH ‘ 07/28/2020 eft 2,932.54
Henry A. Fox Sales Co. , 07/28/2020 EFT 62.70
West Side Beer Distributing 07/28/2020 EFT 198.00
State of Michigan - MLCC 07/29/2020 EFT 182.17
Waypost Brewing Co. 07/29/2020 EFT 252,00
General Ledger Entry Interco CASH : 07/29/2020 eft 7,353.97
Alliance Beverage Distributing LLC 07/30/2020 EFT 194,00
General Ledger Entry Unknown WORLDPAY Variance HCGR 07/30/2020 eft 13.66
M4 C.L.C, LLC 07/30/2020 EFT 120.00
General Ledger Entry Interco CASH 07/30/2020 eft 4,115.55
General Ledger Entry Unknown AMEX Variance HCGR 07/30/2020 eft 5.25
West Side Beer Distributing 07/30/2020 EFT 239.00
Imperial Beverage 07/31/2020 EFT 476.60
General Ledger Entry Interco CASH 07/31/2020 eft 4,787.91

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Total Checks and Charges 157,186.24 0.00
MGMCSTMTN 200801 -097 29-0001

Case:20-01947-jwb Doc #:327-1 Filed: 09/23/2020

$610 Byron Centar Ave. SW
Wyoming, Mil 49819

 

Return Service Requested

Mercantile .

Sank of Michigan Fe 07001

50 AMP FUSE, LLC

DBA STELLA'S LOUNGE
OPERATING

35 OAKES ST SW STE 400
GRAND RAPIDS, MI! 49503

COMMERCIAL ANALYSIS CHECKING ACCOUNT

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06/30/20 . 07/31/20

Page:

Page 49 of 66

1 of 4

Statement Date: 07/31/2020
Primary Account: XXXXXX4115

Documents:

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Period: 06/30/20 to 07/31/20

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125,251.59 (40)

 

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07/01 American Express Settlement XXXXXX7013
07/01 Grand Rapids Bre Cn 33563 St-H8I7q5e4p5g9
07/01 Stellas Lounge - Cn 33806 St-U3p6k5u1w9w2
07/01 Postmates Inc. 53 Commerc St-C9u0u5n8z6q7

07/01 Comb. Dep. Worldpay Worldpay Comb. Dep. Ten iii

07/02 Grand Rapids Bre Cn 33563 St-R802u6s1n700
07/02 American Express Settlement XXXXXX7013
07/02 Stellas Lounge - Cn 33806 St-N9s3u9g2m9v2

07/02 Comb. Dep. Worldpay Worldpay Comb. Dep. Tern i

07/03 Grand Rapids Bre Cn 33563 St-A4z4r1l1q9a1
07/03 Stellas Lounge - Cn 33806 St-Q6x6y5r1b9y5

07/03 Comb. Dep. Worldpay Worldpay Comb. Dep. Tern ii

07/03 Doordash, Inc. Commerce A St-E1u2u0r0u7k5
07/06 Grand Rapids Bre Cn 33563 St-R2e1p6n4h0m5
07/06 Grand Rapids Bre Cn 33563 St-N2I3k3t8w2)4
07/06 Grand Rapids Bre Cn 33563 St-X5I313j5p3s2
07/06 American Express Settlement XXXXXX7013
07/06 Grand Rapids Bre Cn 33563 St-Y8r5n6v8n2t0
07/06 American Express Settlement XXXXXX7013
07/06 Stellas Lounge - Cn 33806 St-N9q807x2x6v4
07/06 Siellas Lounge - Cn 33806 St-W8x7v3e4h8k1
07/06 Stellas Lounge - Cn 33806 St-Z3m3y6n5k1p4

07/06 Comb. Dep. Worldpay Worldpay Comb. Dep. Term
07/06. Comb. Dep. Worldpay Worldpay Comb. Dep. Term

07/07 Siellas Lounge - Cn 33806 St-C1w1a7g6v7i9

07/07 Comb. Dep. Worldpay Worldpay Comb. Dep. Term
07/07 Comb. Dep. Worldpay Worldpay Comb. Dep. Term

07/08 American Express Settlement XXXXXX7013
07/08 Grand Rapids Bre Cn 33563 St-BSh9k9c2a8s7
07/08 Stellas Lounge - Cn 33806 St-Y4t9h8u5x7p0
07/08 Postmates Inc. 53 Commerc St-B7h5d2k5e7d2

07/08 Comb. Dep. Worldpay Worldpay Comb. Dep. Tern iii

07/09 Grand Rapids Bre Cn 33563 St-l8w5q0k5e1m9

    

Amount
74.96
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SO AMP FUSE LLC

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American Express Settlement XXXXXX7013

Stellas Lounge - Cn 33806 St-X309h8a1m5x7

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Stellas Lounge - Cn 33806 St-O3i2e5c7d3e1
Doordash, Inc. Commerce A St-F5j6n82z0k9i7
Grand Rapids Bre Cn 33563 St-LOx2kofip791
Stellas Lounge - Cn 33806 St-D4nty7s3q4e1
American Express Settlement XXXXXX7013
American Express Settlement XXXXXX70413
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Comb. Dep. Worldpay Worldpay Comb. Dep. Term
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Ach Chownow inc Flex Refunds Processed Week Ende
Alliance Beverag Fintecheft XX-KXxXx3684

Henry A, Fox Sal Fintecheft XX-XXX3684

American Express Settlement XXXXXX7013

Stellas Lounge - Cn 33806 St PSc2q9b9z26g3

Stellas Lounge - Cri 33806 St-M9r4g3u1j2k2

American Express Settlement XXXXXX7013
Postmates inc. 53 Commerc St-C2g1z7q129d3

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Stellas Lounge - Cn 33806 St-i@uSfSt7 i213

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Stellas Lounge - Cn 33806 St-K6wSw8p102u3

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American Express Settlement XXXXXX7013

Stellas Lounge - Cn 33806 St-POm9SwSuarigd

American Express Settiement XXXXXX7013

Stellas Lounge - Cn 33806 St-CabGate2x2c7

Stellas Lounge - Cn 33806 St-J7a3r8u1i4j0

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Stellas Lounge - Cn 33806 St-HOadkOzeb4y2

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American Express Settlement XXXXXX7013

Stellas Lounge - Cn 33806 St-Mig0p2x0s3p1

Pasimates inc. 53 Commarc St-J8q2i4c8a9s5

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American Express Settlement XXXXXX7013

Stellas Lounge - Cn 33806 St-H2d8u7n7psk6

Comb. Dep. Worldpay Worldpay Comb. Dep. Term
American Express Settlement XXXXXX7013

Stellas Lounge - Cn 33806 St-B5t6u5e2¢7u0

Doordash, inc. Commerce A S-E1j2h3x0h0p7

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Grubhub ine Jul Actvty 20072422 2r_ tku "

American Express Sattlemant XXXXXX7013

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American Express Settlement XXXXXX7013

Stellas Lounge - Cn 33806 St-A6]1alede7s1

    
   

 

Page 50 of 66

Page: 2at4
Statement Date: 07/34/2020
Primary Account: XXXXXX4115

  

Amount
96.53
261.79
1,926.51
79.80
405.97
2,685.51
77.78
417.01
149.27
149.89
409.44
2,652.12
3,286.98
4,784.58
5,782.54
15.16
49.00
85.00
183.45
386.45
108.87
146,08
724.66
2,013.29
2,285.19
17.08
248.23
2,238.67
87.26
290.79
2,356.05
2,902.51
51.90
73.21
232.19
335.75
347.60
2,925.94
3,808.18
5,268.40
40.38
414.42
2,063.37
71.40
94.39
478.27
1,977.38
22.74
214.48
2,780.00
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481.65
2,540.46
2,597.58.
3,067.81
66.68
74.40
176.18
214.74
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50 AMP FUSE, LLC Page: 3 of 4
Ppaar rig LOUNGE Statement Date: 07/34/2020
35 OAKES ST SW STE 400 Primary Account: XXXXXX4115
, GRAND RAF DS, MI 49508
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07/27 Stellas Lounge - Cn 33806 St-E1t5x92218}1 265.60
07/27 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 2,987.94
07/27 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 3,574.50
07/27 Comb. Dep. Worldpay Worldpay Camb. Dep. Term 5,186.76
07/28 Armerican Exprass Settlement XXXXXX7013 19.87
07/28 Stellas Lounge - Cn 33806 SL-WOITITISw709 320,47
07/28 Comb. Dep. Worldpay Woridpay Comb. Dep. Term $3,008.17
07/29 Steilas Lounge - Cn 33806 St-TOq1b9rSm6s7 192.97 -
07/29 American Express Settlement XXXXXX7013 251.52
07/29 Pastmates Inc. 53 Commerc St-N4ziu2y7h0ps 696.13
07/23 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 2,447.72
07/30 American Express Settlement XXXXXX7013 78.43
07/30 Stellas Lounge - Cn 33808 St-l3t0q8sidéy5 257 56
07/30 Comb. Dep. Worldpay Worldpay Comb. Dep. Ter ii 3,473.80
07/31 Stellas Lounge - Cn 33806 St-AGhécBo7w7iS 408.29
7/31 American Express Settlement XXXXXX7013 359.19
07/31 Grubhub Inc Jul Actvty 20073129 _2r tu 781.96
07/31 Doordash, Inc. Commerce A St-N7uddindvojt 2,787.97

 

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07/27 42933 5,352.63 :

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Date Description Amount
07/01 Transfer To Corl Analysis Ck Account 3,622.83
07/02 Transfer Ta Comi Analysis Ck Account 2,235.46
07/03 Transfer To Comi Analysis Ck Account 6,178.46

07/06 Mthchgs Worldpay Merch Bankeard ellas Lounge 1,288.33

   
   
 

      

07/06 Transfer To Com! Analysis Ck Accoun 9,490.68
07/07 State Of Michnws Liquorsale Hoxxx35 758.13
07/07 Allance Beverag Fintecheft XX-XxXxX3684 318.00
07/07 Transfer To Corl Analysis Ck Account ATTT §,459.83
07/08 Transfer To Coml Analysis Ck Account A777 3,336.39
07/09 Fintech.net Fintecheft XX-XXx3684 37.32
07/03 Transfer To Com! Analysis Ck Account 2,273.31
07/10 Transfer To Corl Analysis Ck Account 2,741.28
07/13 Transfer To Com! Analysis Ck Account 17,379.88
07/14 Transfer To Comi Analysis Ck Account 779.06
07/15 Payment Alllance Eftransact 05-Xcvula 8.99
O7/13 Commercial Service Charge 81.56
07/15 imperial Beverag Fintecheft XX-XXX3684 , 420.00
0745 Transfer To Comi Analysis Ck Account 4777 5,073.25
07/16 Transfer To Comi Analysis Ck Account TTT 2,503.38
t7/17 Transfer To Coml Analysis Ck Account ATT? 5,636.61
07/20 Support Positive Solutio 8/142-44/13 250.88
07/20 Transfer To Com! Analysis Ck Account 4777 12,782.29
07/21 West Side Beer D Fintecheft XX-XXX3 59.00
07/21 Henry A. Fox Sal Fintecheft XX-XxXxk3684 , 790.00
07/21 State Of Michnws Liquorsale #xxxxx8352 , 306,89
07/21 Alllance Beverag Fintecheft XX-XXX3684 407.85
07/21 Transfer To Comi Analysis Ck Account [MRN4777 1,554.63
07/22 Red Tap Draught Sale 278.06
O7/22 Transfer To Comi Analysis Ck Account ATT? 2,346.44

07/23 Transfer To Coml Analysis Ck Account S777 2,987.23
MGMCSTMTN 200801 -09729-0004

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50 AMP FUSE, LLC Page: 4 of 4
OPERATE NGS LOUNGE Statement Date: 07/31/2020

35 OAKES ST SW STE 400 Primary Account: XXXXXX4115
GRAND RAP DS, M! 49503

 

  

Date Description Amount

 

07/24 Imperial Beverag Fintecheft XX-XXX3684 150.00
07/24 Transfer To Com! Analysis Ck Account 4777 8,251.53
07/27 Transfer To Com! Analysis Ck Recount 777 7,194.14
07/28 West Side Beer D Fintecheft XX-XXX3684 332.60
07/28 Transfer To Coml Analysis Ck Account 4777 3,015.71
07/29 Transfer To Coml Analysis Ck Account 4777 3,588.34
07/30 Transfer To Com! Analysis Ck Account 34777 3,810.21
07/31 Chownow 33.65
07/31 Transfer To Comi Analysis Ck Account 4777 4,003.75

    

Date Balance Date Balance Balance
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07/02 07/14
07/03 07/15
07/06 07/16
07/07 07/17
07/08 07/20
07/09 07/21

07/10 07/22
Case:20-01947-jwbo Doc #:327-1

  

Deposits in Transit
Outstanding Checks and Charges

Adjusted Bank Balance

Book Balance
Adjustments*

Adjusted Book Balance

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19,161.05
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General Ledger Entry

Total Checks and Charges Cleared

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Postmates Sales Stellas 7.01.20
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DoorDash Sales Stelias 7.03.20

General Ledger Entry WORLDPAY
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General Ledger Entry WORLDPAY
General Ledger Entry AMEX
General Ledger Entry WORLDPAY
General Ledger Entry WORLDPAY

 

148,033.54 Total Deposits Cleared

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Postmates Sales Stellas 7.08.20
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Doorbash Sales Stellas 7.10.20
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DoorDash Sales Stellas 7.17.20
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Postmates Sales Stellas 7.22.20
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General Ledger Entry
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Total Deposits

  

General Ledger Entry

West Side Beer Distributing

Checks and Charges

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GRUBHUB Sales Stellas 7.24.20
DoorDash Sales Stellas 7.24.20
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Postmates Sales Steilas 7.29.20
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DoorDash Sales Stellas 7.31.20
GRUBHUB Sales Stellas 7.31.20
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Interco CASH

Alliance Beverage Distributing LLC

General Ledger Entry
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State of Michigan - MLCC

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Alliance Beverage Distributing LLC

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West Side Beer Distributing
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WorldPay Monthly Charges - P7 2020

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Mercantile Monthly Bank Charges - P7 2020

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8,251.53

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7,194.14
Case:20-01947-jwb Doc #:327-1 Filed: 09/23/2020 Page 57 of 66

General Ledger Entry Interco CASH 07/28/2020 eft 3,015.71
West Side Beer Distributing 07/28/2020 EFT 332.60
General Ledger Entry Unknown AMEX Variance STELLAS 07/29/2020 eft 9.42
General Ledger Entry Interco CASH 07/29/2020 eft 3,588.34
General Ledger Entry Interco CASH 07/30/2020 eft 3,810.21
General Ledger Entry Unknown AMEX Variance STELLAS 07/31/2020 eft 3.92
General Ledger Entry Interco CASH 07/31/2020 eft 4,003.75
General Ledger Entry Unknown AMEX Variance STELLAS 07/31/2020 eft 12.10
General Ledger Entry CHOWNOW 6.8.20 Entry 07/31/2020 33.65

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Total Checks and Charges 148,033.54 0.00
MGMCSTMTN 200801-09922-0001

Case:20-01947-jwb Doc #:327-1 Filed: 09/23/2020 Page 58 of 66

5610 Byron Center Ave. SW
Wyoming, tdi 4ag19

 

Return Service Requested Page: 1 of 1
oun He TE pat Statement Date: 07/31/2020
Mercantile BE oreo Primary Account: XXXXXX4460
Documents: 0

Period: 06/30/20 to 07/31/20

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LUCK OF THE IRISH, LLC <T> 30-0
DBA MCFADDENS RESTAURANT AND 0
SALOON 0

35 OAKES ST SW STE 400
GRAND RAPIDS, MI 49503

 
 

: XXXXXX4460

 

COMMERCIAL ANALYSIS CHECKING ACCOUNT

   
 
 

06/30/20 0.00 07/31/20 , 0.00 319.02 (3) 319.02 (3)

 

 

ate Description” . Amount

07/06 Transfer From Coml Analysis Ck Account 4777 12.10
07/15 Transfer From Com! Analysis Ck Account A777 67.76
07/20 Transfer From Comi Analysis Ck Account 4777 239.16

 
 

Date Description Amount

 

07/06 Mthchgs Worldpay Merch Bankcard 2096679 Mcfaddens Restaurant And Salo 12.10
07/15 Commercial Service Charge : 67.76
07/20 Support Positive Solutio 11/1/11-10/1/12 239.16

    

ate Balance ate Date Balance
Case:20-01947-jwb Doc #:327-1 Filed: 09/23/2020 Page 59 of 66

      

g Balance
Deposits in Transit
Outstanding Checks and Charges

34,393.51
6.00

@.00

 

Adjusted Bank Balance 31,393.54
Sook Balance 44,393.53
Adjustments* 8.00
Adjusted Bock Balance 31,394.51

Tatal Checks and Charges Cleared 3149.02 Total Deposits Cleared 349.82
Deposits

    
       

General Ledger Entry Interco CASH 7068/2020
_ General Ledger Entry Interco CASH 67/15/2020 eft 67.76
General Ledger Entry Interco CASH 07/20/2020 eft 239.16

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Total Deposits 339.62 2.86

Checks and Charges

 

      

 
     

‘General Leda ry WorldPay Monthly Charges - P7 2020 07/07/2020 ef 12.10
Genera] Ledger Eniry Mercantile Monthly Bank Charges - P7 2020 07/15/2520 aft 87.76
General Ledger Entry Positive Solutions Support ~ Monthly Transaction & 97/23/2620 aff 239.16
Total Checks and Charges 319.02 6.00
MGMCSTMTN 200801 -10082-0001

Case:20-01947-jwb Doc #:327-1 Filed: 09/23/2020

5610 Byron Center Ave. SY
Wyoming, Ml.49s19

Return Service Requested

 

Mercantile

Bark of Michigan Eee 07001

GRBC HOLDINGS, LLC

DBA GRAND RAPIDS BREWING CO
35 OAKES ST SW STE 400

GRAND RAPIDS, MI! 49503

COMMERCIAL ANALYSIS CHECKING ACCO

 

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07/31/20

Page:

Page 60 of 66

1 of 3

Statement Date: 07/31/2020
Primary Account: XXXXXX1069

Documents:

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Period: 06/30/20 to 07/31/20

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Account: XXXXXX1069

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63,187.05 (33)

 

  

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Description
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American Express Settlement XXXXXX6957

Comb. Dep. Worldpay Worldpay Comb. Dep. Term
American Express Settlement XXXXXX6957

Doordash, Inc. lonia Ave St-H0e2i6d4d5u2

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American Express Settlement XXXXXX6957

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American Express Settlement XXXXXX6957

Doordash, Inc. lonia Ave St-N3f3q9i9e1m9

Comb. Dep. Worldpay Worldpay Comb. Dep. Term
American Express Settlement XXXXXX6957

Grand Rapids Bre Cn 33563 St-Y 1q7p3e402a4

Grand Rapids Bre Cn 33563 St-P908t5g7j9x4

Grand Rapids Bre Cn 33563 St-Y1h6n3v4v8i4

American Express Settlement XXXXXX6957

Comb. Dep. Worldpay Worldpay Comb. Dep. Term
Comb. Dep. Worldpay Worldpay Comb. Dep. Term
Comb. Dep. Worldpay Worldpay Comb. Dep. Term

American Express Settlement XXXXXX6957

Comb. Dep. Worldpay Worldpay Comb. Dep. Term
Grand Rapids Bre Cn 33563 St-A0o5u1x6d0x7

American Express Settlement XXXXXX6957

 
 

 
 
 
 

 

  

Amount
75.46
1,313.54
120.46
1,491.34
60.69
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1,646.24
1,741.06
3,066.13
185.16
1,243.12
31.75
MGMCSTMTN 200801 -10082-0002

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DBA GRAND RAP OS BREWING co Page: 2 of 3
35 OAKES ST SW STE 400 Statement Date: - 07/31/2020
GRAND RAP DS, MI 49503 Primary Account: XXXXXX1069

 

 

ate Description Amount
07/15 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 964.70
07/16 American Express Settlement XXXXXX6957 36.69
07/16 Grand Rapids Bre Cn 33563 St-A0h5y5b3p2p6 108.78
- 07/16 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 1,232.50
07/17 American Express Settlement XXXXXX6957 150.83
07/17 Doordash, Inc. lonia Ave St-W1s7g5s4e9k4 168.91
07/17 Grand Rapids Bre Cn 33563 St-Z3e8z0d718b6 275.60
07/17 Comb. Dep. Worldpay Worldpay Comb. Dep. Term [A 2,909.71
07/20 Grand Rapids Bre Cn 33563 St-W3j3p0v3z5u4 92.75
07/20 Grand Rapids Bre Cn 33563 St-H3p7r1i5j1z4 173.90
07/20 Grand Rapids Bre Gn 33563 St-L8i5h2g5y6q1 241.66
07/20 American Express Settlement XXXXXX6957 284.07
07/20 Grand Rapids Bre Gn 33563 St-N8z7s2c7x9q2 361.58
07/20 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 1,269.98
07/20 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 3,049.40
07/20 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 3,234.06
07/21 Postmates Inc. 1 lonia Av St-B6n1f7v5v7t3 11.35
07/21 American Express Settlement XXXXXX6957 26.85
07/21 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 1,145.55
07/22 Grand Rapids Bre Cn 33563 St-W2v7t8p7a7m2 179.98
07/22 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 639.67
07/23 Grand Rapids Bre Cn 33563 St-W8h5k3i0a3d7 84.88
07/23 American Express Settlement XXXXXX6957 119.36
07/23 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 863.09
07/24 American Express Settlement XXXXXX6957 5.94
07/24 Grand Rapids Bre Cn 33563 St-Y4d8t8y4f2x2 27.08
07/24 Grubhub Inc Jul Actvty 20072422u061shk 145.21
07/24 Doordash, Inc. lonia Ave St-W4i4z3e0n6a1 168.77
07/24 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 1,415.75
07/27 Grand Rapids Bre Cn 33563 St-T0c3e1t9u5y3 19.25
07/27 American Express Settlement XXXXXX6957 85.41
07/27 Grand Rapids Bre Cn 33563 St-HOr2e6h3m103 214.56
07/27 Grand Rapids Bre Cn 33563 St-D9I9x8k9r1y2 237.03
07/27 American Express Settlement XXXXXX6957 535.99
07/27 Grand Rapids Bre Cn 33563 St-V1a4z609x3m0 868.13
07/27 Comb. Dep. Worldpay Worldpay Comb. Dep. Term . 1,240.56
07/27 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 2,400.33
07/27 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 3,642.55
07/28 Postmates Inc. 1 lonia Av St-P7y7g5i4e4r5 44.64
07/28 American Express Settlement XXXXXX6957 68.68
07/28 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 610.06
07/29 American Express Settlement XXXXXX6957 46.61
07/29 Grand Rapids Bre Cn 33563 St-l0r8g3y0g3h5 84.12
07/29 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 900.89
07/30 Grand Rapids Bre Cn 33563 St-Y7d6I2n2n2k6 : 17.47
07/30 American Express Settlement XXXXXX6957 74.56
07/30 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 1,660.75
07/31 Grand Rapids Bre Cn 33563 St-X4z8i9e1s3h4 76.13
07/31 Grubhub Inc Jul Actvty 20073129u061shk 88.20
07/31 American Express Settlement XXXXXX6957 , 97.55
07/31 Doordash, Inc. lonia Ave St-R5m0n7i6v7i3 197.51
07/31 Comb. Dep. Worldpay Worldpay Comb. Dep. Term 1,558.44

 
 

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Date Check No Amount Date Check No Amount Date Check No Amount
07/27 33485 1,795.29 |
* Indicates a Gap in Check Number Sequence

 

 
MGMOSTMIN 200867-40082-0013

Case:20-01947-jwo Doc #:327-1 Filed: 09/23/2020 Page 62 of 66
GRBC HOLD NGS LLC Page: 3 of 3

 

BBA GRAND RAP CS BREWINGCO Statement Date: 07/31/2020
GRAND RAP DS. Ml 49503 Primary Account: XXXXXX1069
Mercantile
Bank of Michigans

 
   
  
     
    
 
  
   
  
   
 

Date Description 7 Amount

07/01 Transfer To Comi Analysis Ck Account 4777 . 4,389.00
07/02 Transfer To Com Analysis Ck Account 4777 1,611.86
07/03 Transfer To Com! Analysis Ck Account ATTT 2,073.64

07/06 Mthchgs Worldpay Merch Bankcard 20 tand Rapids Brewing Co 655.80

07/06 Transfer To Comi Analysis Ck Account 4777 6,209.62
07/07 Transfer To Com! Analysis Ck Account TTT 1,428.28
07/08 Transfer To Com! Analysis Ck Account 4777 1,279.15
07/09 Transfer To Com! Analysis Ck Account A777 , 1277.61

 
  
  
  
    
 

67/10 Transfer To Coml Analysis Ck Account A777 1,923.77
07/33 imperial Beverag Fintecheft XX-Xxx21 199.06
O73 Transfer To Coml Analysis Ck Account 4777 9,064.09
07/14 Transfer To Com! Analysis Ck Account 4777 4,897.26
07/15 Payment Alliance Eftransact 05-ViaSof 9.85
07715 Commercial Service Charge 73.16
07/15 Transfer To Carnl Analysis Ck Account 4777 1,201.86
O76 Transfer To Coml Analysis Ck Account 4777 1,377.97
07/17 Red Tap Draught Sate 325.00
O7/17 Transfer To Comi Analysis Ck Account M4777 3,480.05
07/20 Support Positive Solutio $827.55 X 2 & 10payments $173.49 3/1/14-2/1/15 410.00
07/20 Restaurant Techn Cash Cone 912.13
07/20 Transfer To Comi Analysis Ck Account 4777 7,386.27
07/21 Transfer To Comi Analysis Ck Account 4777 1,783.76
07/22 Red Tap Draught Sale : 325,00
07/22 Transfer To Comi Analysis Ck Account ATT 494.65
O7/23 Transfer To Com! Analysis Ck Account 4777 1,067.33
07/24 Transfer To Coml Analysis Ck Account S777 1,762.75
07/27 Transfer To Com Analysis Ck Account ATT? 7 448.52
07/28 Transfer To Coml Analysis Ck Account 4ATT7 723.38
07/29 Transfer To Com! Analysis Ck Account 4777 1,031.62
07/30 Transfer To Coml Analysis Ck Account 4777 1,762.78
07/31 Chownow 33.65
07/31 Transfer To Comi Analysis Ck Account M4777 1,984.18

 

07/23
07/02 o7/14 07/24
07/03 O75 : 07/27
07/06 07/16 07/28
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07/08 07/20 07/30

07/09 07/21 07/34
07/10 07/22
Case:20-01947-jwb Doc #:327-1 Filed: 09/23/2020

  

Deposits in Transit

Statement Ending Balance

Outstanding Checks and Charges

Adjusted Bank Balance

Book Balance
Adjustments*

Adjusted Book Balance

Deposits

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Ledger Entry
General Ledger Entry
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Total Checks and Charges Cleared

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Postmates Sales GRBC 6.30.20
AMEX

WORLDPAY

Unknown AMEX Variance GRBC
Unknown AMEX Variance GRBC
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DoorDash Sales GRBC 7.03.20

AMEX

 

74,808.37 Total Deposits Cleared

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Page 63 of 66

 

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Case:20-01947-jwb Doc #:327-1 Filed: 09/23/2020 Page 64 of 66

General Ledger Entry
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DoorDash Sales GRBC 7.10.20
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CHOWNOW Sales Entry GRBC
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DoorDash Sales GRBC 7.17.20
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Postmates Sales GRBC 7.21.20
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Unknown AMEX Variance GRBC
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DoorDash Sales GRBC 7.24.20

GRUBHUB Sales GRBC 7.24.20

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Case:20-01947-jwo Doc #:327-1 Filed:

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Postmates Sales GRBC 7.28.20
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GRUBHUB Sales GRBC 7.31.20
DoorDash Sales GRBC 7.24.20
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WorldPay Monthly Charges ~ P7 2020

Unknown AMEX Variance GRBC
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Unknown AMEX Variance GRBT

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09/23/2020 Page 65 of 66

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Case:20-01947-jwb Doc #:327-1 Filed: 09/23/2020 Page 66 of 66

General Ledger Entry
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Imperial Beverage

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Total Checks and Charges

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Interco CASH

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Interco CASH

Mercantile Monthly Bank Charges - P7 2020

Unknown AMEX Variance GRBC
Interco CASH

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Unknown AMEX Variance GRBC
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Positive Solutions Support - Monthly Transact on P

Interco CASH

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- Interco CASH

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CHOWNOW 6.8.20 Entry

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1,597.26
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1,201.56
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1,377.97
3.80
1,795.29
3,180.05
5.13
325.00
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7,385.27
410.00
1,183.75
494.65
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1,067.33
3.81
0.94
1,762.75
0.30
3.07
7,448.52
5.56
2.27
723.38
1,031.62
1.55
1,752.78
2.86
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1,984.18
33.65

74,808.37

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